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                             No. 2024-1515


  United States Court of Appeals for the Federal Circuit

                    TELEFONAKTIEBOLAGET LM ERICSSON,
                 Plaintiff/Counterclaim Defendant-Appellee,

                      ERICSSON AB, ERICSSON, INC.,
                    Counterclaim Defendants-Appellees,
                                     v.
        LENOVO (UNITED STATES) INC., MOTOROLA MOBILITY INC.,
             Defendants/Counter-Claimants-Appellants,

    LENOVO (SHANGHAI) ELECTRONICS TECHNOLOGY CO. LTD., LENOVO
  BEIJING, LTD., LENOVO GROUP LIMITED, MOTOROLA (WUHAN) MOBILITY
              TECHNOLOGIES COMMUNICATIONS, CO., LTD.,
                            Defendants.

 Appeal from the United States District Court for the Eastern District of
     North Carolina, No. 5:23-cv-00569, Judge Terrence W. Boyle


      NONCONFIDENTIAL APPELLANTS’ OPENING BRIEF


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March 22, 2024
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                   CERTIFICATE OF INTEREST

1.   Represented Entities (Fed. Cir. R. 47.4(a)(1)):

     Lenovo (United States), Inc.;
     Motorola Mobility LLC

2.   Real Party in Interest (Fed. Cir. R. 47.4(a)(2)): N/A

3.   Parent Corporations and Stockholders (Fed. Cir. R.
     47.4(a)(3)):

     Legend Holdings Corporation

4.   Legal Representatives (Fed. Cir. R. 47.4(a)(4)):

     Kirkland & Ellis LLP: Greg Arovas, Edward C. Donovan, F.
     Christopher Mizzo

     Fish & Richardson P.C.: Benjamin Elacqua, Adam R. Shartzer

     Womble Bond Dickinson (US) LLP: Raymond M. Bennett, Jacob
     Steven Wharton

5.   Related Cases (Fed. Cir. R. 47.5(a)). Other than the originating
     case(s) for this case, are there related or prior cases that meet the
     criteria under Fed. Cir. R. 47.5(a)? Yes. A Notice of Related Case
     Information has been filed.

6.   Organizational Victims and Bankruptcy Cases (Fed. R. App.
     P. 26.1(b)-(c)): N/A
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                   Note re: confidential material.
Material redacted at p. 7 of the non-confidential version of this brief is
a term of a cross-license.
Material at p. 14 (first redaction) is a number concerning sales figures.
Material at pp. 13, 14 (second redaction) concerns details of proceedings
in Brazil.
Material at pp. 49 and 52 concerns a detail of negotiations between the
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Note: All emphasis is added unless otherwise indicated.




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                 STATEMENT OF RELATED CASES

     No other appeal from the proceedings below was previously before

this or any other appellate court. The following cases may directly affect

or be directly affected by the Court’s decision in this appeal:

• Telefonaktiebolaget LM Ericsson v. Motorola Mobility Comercio De-
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• Telefonaktiebolaget LM Ericsson v. Lenovo Asia Pacific Sucursal Co-
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• Telefonaktiebolaget LM Ericsson v. Lenovo Asia Pacific Sucursal Co-
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  branch named Lenovo Asia Pacific Limited Sucursal Colombia, Juz-
  gado 008 Civil Del Circuito De Bogotá, Conventional Court Num. 08
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• Telefonaktiebolaget LM Ericsson v. Motorola Mobility Colombia
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• Telefonaktiebolaget LM Ericsson v. Motorola Mobility Colombia
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  Num. 54 (filed Nov. 24, 2023)

• Telefonaktiebolaget LM Ericsson v. Motorola Mobility Colombia
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• Telefonaktiebolaget LM Ericsson v. Lenovo Asia Pacific Ltd. Sucursal,
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• Lenovo Group Limited and Ors v Telefonaktieblaget LM Ericsson and
  Ericsson Limited, Case number HP-2023-000036 (High Court of Eng-
  land and Wales) (filed Oct. 13, 2023)

• Motorola Mobility, LLC and Anor v Ericsson Limited and Anor, Case
  number HP-2024-000005 (High Court of England & Wales) (filed Feb.
  12, 2024)

                   JURISDICTIONAL STATEMENT

      The district court had subject-matter jurisdiction under 28 U.S.C.

§§1331, 1338(a), and 1367(c), because the complaint includes claims al-

leging infringement of U.S. patents. Appx1042-1053 (Counts I-V). This

Court has jurisdiction under 28 U.S.C. §1292(a)(1), (c)(1).

      The district court denied Appellants’ motion for an antisuit injunc-

tion on February 14, 2024. Appx1-18. Appellants timely appealed on Feb-

ruary 23, 2024. Appx3443-3444. See 28 U.S.C. §2107; Fed. R. App. P.

4(a)(1)(A).




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                           INTRODUCTION

     This appeal arises from the district court’s order denying Lenovo’s

motion for an anti-suit injunction. Ericsson and Lenovo each pledged to

license their 5G standard-essential patents (SEPs) on fair, reasonable,

and non-discriminatory (FRAND) terms. FRAND pledges are critical to

the development of technological standards. Like any contract, a FRAND

pledge is only meaningful if it can be enforced. Here, Ericsson asked the

district court to decide whether Ericsson has complied with its obligation

to negotiate in good faith, and Lenovo asked the district court to deter-

mine a FRAND rate for a global cross-license to the parties’ 5G SEPs.

     But after filing its FRAND claims in the district court, Ericsson

launched a worldwide campaign of interfering litigations designed to pre-

vent the district-court action from proceeding to conclusion, and thereby

escape its FRAND pledge. In dozens of filings abroad—many secret, ex

parte, and expedited—Ericsson has asserted its 5G SEPs to demand in-

junctions against Lenovo’s global smartphone business. Ericsson has suc-

cessfully enjoined Lenovo and its customers in Brazil and Colombia, and

threatened Lenovo with fines and other punishment in multiple




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jurisdictions. The goal is to pressure Lenovo into signing a license on un-

fair terms, before any court can enforce Ericsson’s FRAND pledge.

     Ericsson’s strategy is not new. U.S. and foreign courts have seen

this tactic before in the standards context, and have issued antisuit in-

junctions to protect their proceedings from precisely this kind of foreign

interference. The antisuit injunctions in cases like Microsoft Corp. v.

Motorola, Inc., 696 F.3d 872 (9th Cir. 2012) are tailored to the threat:

they prevent the patentee only from pursuing injunctive relief, only based

on SEPs, and only while the district-court FRAND claims are pending.

Without antisuit injunctions, SEP holders like Ericsson can game the

standards-setting process by accepting the benefits of having their tech-

nology incorporated into a standard, while evading the burdens of com-

plying with their FRAND pledges.

     The facts of this case are nearly identical to Microsoft v. Motorola,

where the court of appeals affirmed an antisuit injunction. The district

court’s contrary ruling conflates distinct concepts, and misapprehends

the nature of the parties’ dispute and Ericsson’s FRAND commitments.

The district court’s reasoning either creates a conflict with Microsoft v.




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Motorola, or provides a template for SEP holders like Ericsson to evade

precedent and their FRAND obligations through artful pleading.

      This Court should correct the district court’s errors, at a minimum.

But it should reverse outright. A simple remand would play into Erics-

son’s strategy of manipulating court schedules for strategic advantage,

and give a roadmap for future abuse. Ericsson has been expediting its

foreign injunctive proceedings to pressure Lenovo, while delaying this

appeal to prevent Lenovo from obtaining anything other than Pyrrhic re-

lief—even to the point of fighting Lenovo’s scheduling motion. The second

and third steps of the antisuit injunction inquiry are fully briefed on the

record, turn on undisputed facts, and point overwhelmingly toward an

antisuit injunction. The Court should reverse and order the district court

to issue the antisuit injunction.

                     STATEMENT OF THE ISSUES

      1.    Whether the district court’s order denying an antisuit injunc-

tion should be reversed because the court erred as a matter of law in

finding, as a threshold matter, that resolving the underlying FRAND con-

tract issues would not determine the propriety of Ericsson’s enforcement

of injunctive relief in foreign countries.



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     2.    If so, whether this Court should order entry of an antisuit in-

junction against Ericsson because the antisuit injunction factors support

an injunction and because the impact on comity would be tolerable.

                     STATEMENT OF THE CASE

     A.    Ericsson and Lenovo Pledge to License Their 5G SEPs
           on FRAND Terms.

     Lenovo1 appeals from the district court’s order denying its motion

for an antisuit injunction. Appx1-18. This case concerns the 5G standard,

and Ericsson and Lenovo’s global dispute over their respective 5G stand-

ard-essential patents (SEPs). Standard-setting organizations (SSOs) like

the European Telecommunications Standards Institute (ETSI) develop

standards so that different companies’ products will be interoperable. For

example, American electrical devices can plug into almost every wall out-

let in the country, because industry adopted a standard two- or three-

prong, 120-Volt outlet. The Wi-Fi standard similarly permits Wi-Fi-com-

pliant phones, laptops, and base stations to communicate with each other




1 Except where differences among them matter, “Ericsson” refers collec-

  tively to all appellees—Telefonaktiebolaget LM Ericsson, Ericsson AB,
  and Ericsson, Inc., and “Lenovo” refers collectively to both appel-
  lants—Lenovo (United States) Inc. and Motorola Mobility Inc.


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regardless of manufacturer. See Ericsson, Inc. v. D-Link Sys., 773 F.3d

1201, 1208-09 (Fed. Cir. 2014); Appx2558(¶¶12-14).

     SEPs (patents that would be necessarily infringed by implementing

the standard) present a major concern to standard setting. A standard

like 5G may implicate tens of thousands of families of patents, or more.

After an SSO finalizes a standard, every owner of even a single SEP gains

holdup leverage over the entire industry, based on the value of the entire

standard. Appx2559-2560(¶¶17-18, 22); Ericsson, 773 F.3d at 1209. Any

company that makes standard-compliant products and refuses to pay

whatever a SEP holder demands, would risk lawsuits and injunctions ex-

cluding it from the entire market of standard-compliant products. Erics-

son, 773 F.3d at 1209; see also TCL Commc’n Tech. Holdings v. Tele-

fonaktiebolaget LM Ericsson, 943 F.3d 1360, 1364 (Fed. Cir. 2019); C.

Shapiro & M. Lemley, The Role of Antitrust in Preventing Patent Holdup,

168 U. PA. L. REV. 2019, 2043-46 (2020). That holdup risk is acute in the

electronics industry, because of the number of patents involved, and the

ever-increasing number and type of products with connectivity. See J.R.

Bartlett & J. Contreras, Rationalizing FRAND Royalties: Can Inter-

pleader Save the Internet of Things?, 36 REV. LITIG. 285, 287-90 (2017).



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     To alleviate the holdup risk, SSOs usually require participants to

declare any patents they own that are or may be SEPs, and commit to

license those SEPs on FRAND terms.2 See TCL, 943 F.3d at 1364; Erics-

son, 773 F.3d at 1208; Appx2559-2561(¶¶18, 21, 24-25). That happened

here. Ericsson and Lenovo participated in developing the 5G standard

through ETSI. Appx3340:15-23; Appx3365:21-3366:4. Both committed to

license their 5G SEPs on FRAND terms, under the ETSI Intellectual

Property Rights policy and annexed form IPR Licensing Declaration.

Appx1009-1010(¶¶33-36); Appx2138-2139(¶¶27-28). The ETSI policy

does not specify numerical FRAND rates. It includes the following provi-

sion, §6.1, regarding FRAND commitments:

     When an ESSENTIAL IPR [intellectual property right] relat-
     ing to a particular STANDARD or TECHNICAL SPECIFICA-
     TION is brought to the attention of ETSI, the Director-Gen-
     eral of ETSI shall immediately request the owner to give
     within three months an irrevocable undertaking in writing
     that it is prepared to grant irrevocable licences on fair, rea-
     sonable and non-discriminatory (“FRAND”) terms and condi-
     tions under such IPR:

     - MANUFACTURE, including the right to make or have made
     customized components and sub-systems to the licensee's own
     design for use in MANUFACTURE;


2 References in the record to “RAND,” “FRAND,” and “F/RAND” all refer

  to the same concept.


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     - sell, lease, or otherwise dispose of EQUIPMENT so MANU-
     FACTURED;

     - repair, use, or operate EQUIPMENT; and

     - use METHODS.

     The above undertaking may be made subject to the condition
     that those who seek licences agree to reciprocate.

Appx2137(¶24).

     All agree that the ETSI policy is a binding contract, governed by

French law, that Ericsson and Lenovo can each enforce against the other

as   third-party     beneficiaries.      Appx1052(¶191);       Appx2138(¶26);

Appx2561(¶24). All likewise agree that the ETSI FRAND commitment

includes a duty to negotiate in good faith. Appx1052(¶191); Appx2151-

2153(¶¶73, 79-80).

     B.    Licensing and Negotiations Between Ericsson and
           Lenovo Before this Litigation

     In 2011—before Lenovo acquired Motorola—Motorola and Ericsson

entered a worldwide,      term        cross-license to all of each other’s de-

clared cellular SEPs with a priority date before 2016. Appx3173 (citing

Appx3179-3184). The cross-license covered SEPs for standards such as

3G and 4G. Lenovo acquired Motorola in 2014. Appx2451(¶5). Motorola




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remains licensed to Ericsson’s pre-2016 patents, and granted Lenovo a

sublicense. Appx3173.

     Lenovo and Ericsson attempted to negotiate a further license be-

tween 2015 and 2017, but were unsuccessful due to Ericsson’s refusal to

license Lenovo to any of its 5G patents—the very patents that Ericsson

is now seeking injunctions on around the world. Instead of licensing its

5G patents, as its FRAND commitment requires, Ericsson demanded

substantial royalties for products already licensed under Motorola’s ear-

lier agreement with Ericsson. Appx2140(¶¶32-34). After an unsuccessful

mediation, Ericsson dropped the discussions and seemingly moved on to

another target. Appx2140-2141(¶¶35-36). Ericsson and Lenovo had fur-

ther discussions in September 2021 and July 2023, but those stalled

when they could not agree on the terms of an NDA. Appx2141(¶37);

Appx2142(¶40). In district court, Ericsson has told a selective version of

the foregoing history and cast it as “more than a decade” of “delay” by

Lenovo negotiating a license. E.g., Appx1014 (complaint); Appx2799 (Er-

icsson brief). Among other things, Ericsson’s refrain ignores the preexist-

ing cross-license, and that Lenovo launched its first 5G phone in 2021.

Appx3169-3170.



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     C.    Ericsson Simultaneously Makes its First 5G Offer, and
           Initiates District-Court Litigation Seeking an
           Adjudication of Ericsson’s Compliance with its FRAND
           Pledge.

     On October 11, 2023, Ericsson made its first 5G offer to Lenovo,

demanding “$5 per 5G smartphone or tablet,” with “[d]iscounted rate of

1% of net sales, with a $4 per-unit cap, available.” Appx2910; see also

Appx2803; Appx3173. That is Ericsson’s unilaterally chosen price, noth-

ing more. That same day, Ericsson filed two lawsuits against Lenovo, in-

cluding the district court action here, and a parallel ITC complaint (No.

337-TA-1375) asserting infringement of SEPs and seeking to exclude

Lenovo’s products from the country.3

     In the district court case underlying this appeal, Ericsson’s com-

plaint included claims for infringement of four declared 5G SEPs,

Appx1042-1051 (Counts I-IV), and claims accusing Lenovo of breaching

its FRAND commitments under the ETSI policy Appx1051-1056 (Counts

V-VI).




3 Ericsson also filed a separate district court action (E.D.N.C. No. 23-CV-

  570) asserting infringement of non-essential patents. The following
  day, Ericsson filed another ITC complaint (No. 337-TA-1376) asserting
  those same patents.


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     Importantly, Ericsson’s complaint also asked the court to determine

whether Ericsson had complied with its FRAND commitment vis-à-vis

Lenovo, and included a contingent request to declare FRAND terms for a

global cross-license between Ericsson and Lenovo. Ericsson’s Count VII

is titled “Declaration that Ericsson Has Complied with its F/RAND Com-

mitment and the ETSI IPR Policy With Respect to its Offer to Lenovo

USA.” Appx1056-1058. The complaint’s concluding prayer for relief in-

cludes the following items:

     (j) Adjudge and declare that Ericsson has complied with its
     F/RAND commitments and all applicable laws;

     (k) Adjudge and declare that Ericsson has complied with the
     ETSI IPR Policy and all other applicable laws that would af-
     fect Ericsson’s prospective license to Defendants;

     (l) If Ericsson’s offer is determined not to be consistent with
     its F/RAND commitments, adjudge and declare a F/RAND
     rate for a global cross-license between Ericsson and Defend-
     ants covering Essential Patents;

Appx1059-1060.

     D.    Lenovo Files Counterclaims in District Court
           Concerning Ericsson’s FRAND Pledge, and a UK Action
           Concerning Ericsson’s FRAND Pledge.

     In the district court, Lenovo sought “final resolution” of its global

dispute with Ericsson. Appx2131. Lenovo’s counterclaims contended that

Ericsson breached its FRAND obligations to Lenovo, Appx2150-2153


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(Counterclaims I and II). Lenovo’s Counterclaim III also directly asked

the Court to decide the FRAND terms of a cross-license, “request[ing] a

judicial declaration that sets the FRAND terms and conditions for a

global patent cross-license between Ericsson LM and Lenovo US that in-

cludes the parties’ and their related companies’ respective declared

SEPs.” Appx2153-2154.

     Seeking a judicial declaration of a FRAND rate is consistent with

practice in the standards context. When parties are unable to agree on a

license or cross-license to each other’s SEPs, they can file contract claims

based on the ETSI FRAND pledge. Based on those claims, the parties can

ask a court with jurisdiction to declare a FRAND rate for a license be-

tween the parties. American courts with jurisdiction over the parties

have done just that—setting worldwide FRAND rates, as Lenovo asked

the district court to do here. See, e.g., Microsoft Corp. v. Motorola, Inc.,

No. C10–1823, 2013 WL 2111217 (W.D. Wash. Apr. 25, 2013).

     UK courts have also adjudicated global FRAND disputes under es-

tablished procedures. Appx2577-2578(¶¶68, 70). In the landmark Un-

wired Planet decision, a UK court ruled that Huawei would be enjoined

unless it accepted a worldwide license to Unwired Planet’s SEPs, on



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FRAND terms the court set. Unwired Planet Int’l Ltd. v. Huawei Tech.

Co., [2017] EWHC (Pat) 2988 (Eng.), at ¶¶793, 807(18). Ericsson inter-

vened in Huawei’s appeal to the UK Supreme Court in Unwired Planet,

to endorse the UK court’s approach of setting the terms of a worldwide

license. Unwired Planet Int’l Ltd. v. Huawei Tech. (UK) Co. Ltd [2020]

UKSC 37 (Eng.).

     After Ericsson filed its complaint here, Lenovo filed an action in the

High Court of England and Wales, asking that court to follow the ap-

proach of Unwired Planet and set a global FRAND rate that would put

all disputed FRAND and SEP infringement issues to rest worldwide.

Appx2576(¶32). Lenovo provided an undertaking that it would enter into

the license and pay the FRAND rate set by the court. Appx2577(¶68).

Ericsson disputes the UK court has jurisdiction and wants to proceed in

the district court on its FRAND-compliance claim. Appx2622; Appx2599;

Appx2619(40:10-16). As a protective measure, Lenovo’s UK filings in-

cluded a contingent request for a preliminary injunction. Appx3435. The

contingency is that Lenovo only seeks a preliminary injunction if Erics-

son does not consent to a FRAND cross-license determination, and does

not withdraw its injunction actions elsewhere. Appx3435-3436.



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     E.    To Pressure Lenovo to Accept Ericsson’s Demands
           Before Any Court Can Adjudicate Ericsson’s FRAND
           Pledge, Ericsson Seeks and Obtains Ex Parte, Secret,
           Expedited Injunctions Against Lenovo in Other
           Countries by Asserting Infringement of 5G SEPs.

     Despite Ericsson’s FRAND claims in the district court, and Erics-

son’s representations to the UK court, Ericsson has gone to extraordinary

lengths to prevent any tribunal from adjudicating Ericsson’s FRAND

pledge to Lenovo.

     Beginning in November 2023, Ericsson started seeking dozens of

expedited preliminary injunctions against Lenovo in foreign countries,

many on an ex parte basis, based on alleged infringement of 5G SEPs.

The goal is to force Lenovo to accept Ericsson’s licensing demands before

any tribunal can determine whether Ericsson complied with its FRAND

obligations, or what a FRAND rate would be.

     In Brazil on November 21, Ericsson filed details of Brazil proceedings

               details of Brazil proceedings                              ,

Appx2457(¶4), which the court granted six days later. Appx2457-

2458(¶5), Appx2462-2471. To Lenovo’s knowledge,4 Ericsson has also

filed over thirty ex parte preliminary injunction actions against Lenovo


4 The cases listed here are only the cases Lenovo presently knows about.




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and its customers in Colombia since November 20. Appx2534-2541(¶14);

see supra pp.vii-x (Statement of Related Cases).

      Ericsson sought injunctions in Brazil and Colombia (and against

Lenovo’s customers) to cause serious damage to Lenovo’s business. As
                                                                    number
Ericsson knows, Brazil is a major market accounting for                      of Lenovo’s

smartphone sales. The Brazilian injunction applies to Lenovo and its cus-

tomers, and prevents Lenovo’s Brazilian affiliates from offering 5G prod-

ucts. Although the injunction is based on alleged infringement of two

FRAND-encumbered Ericsson patents, the injunction imposesterms

                                 terms of injunction
   terms of injunction
                         . Id.

      In Colombia, Ericsson’s injunctions began issuing in December.

Each was issued without Lenovo’s participation, and enjoins Lenovo’s Co-

lombian affiliates from selling or importing 5G-capable smartphones.

Appx2542(¶17); Appx2462-2471. As with the Brazilian injunctions, the

Colombian injunction is based on a patent that Ericsson has declared to

be a 5G SEP and pledged to license on FRAND terms. Appx2542(¶17).

Other Colombian injunctions operate directly against Lenovo customers.

Id. Those injunctions will remain in place until the appeal in Colombia is



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heard, which will likely take 4 to 6 months as of this filing.

Appx2533(¶11).

     F.    Ericsson Rejects Lenovo’s Attempts at Resolution
           without Injunctions, Including Lenovo’s Offers of
           Interim Payments and Security.

     Lenovo has always remained willing to enter a cross-license on

FRAND terms, and has continued to seek a negotiated resolution with

Ericsson without injunctive relief. Indeed, Lenovo offered to pay into es-

crow Ericsson’s rack rate for 5G products in Brazil and Colombia (the

most Ericsson could possible seek for a license), in exchange for Ericsson

standing down on its injunctions. Appx2602-2603. Ericsson refused.

Lenovo also offered security and interim payments on a global basis while

a FRAND cross-license rate was determined, but Ericsson refused be-

cause it preferred to exert pressure over Lenovo through its injunctions.

Appx2631-2632. Ericsson has also resisted Lenovo’s request in the UK

court to set an interim license rate, with Lenovo to make interim pay-

ments until the court finally adjudicates a FRAND rate. Appx2611(¶3(b))

(Lenovo’s request); Appx2620(50:3-22) (Ericsson disputing jurisdiction).




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     G.    The District Court Denies Lenovo’s Request for an
           Antisuit Injunction to Prevent Ericsson’s Campaign of
           Foreign Injunctions from Interfering with the District
           Court’s Adjudication of the Parties’ FRAND Dispute.

     Ericsson’s actions follow a strategy Ericsson has previously pursued

and touted to the press. Appx2593-2594. SEP holders like Ericsson can

circumvent their FRAND obligations by suing companies like Lenovo in

countries around the word, alleging infringement of SEPs and seeking

injunctions. Some jurisdictions grant injunctions quickly, ex parte, and in

secret proceedings. The defendant learns after the fact that it is enjoined.

And if even one judge grants one injunction in a key market, the defend-

ant is locked out of the entire 5G market in that jurisdiction. Few can

endure that state of affairs for very long. SEP holders like Ericsson ex-

ploit that dynamic by pressuring the defendant into signing a license

with exorbitant royalty rates, before any court can adjudicate the SEP

holder’s compliance with its FRAND obligation.

     When courts have jurisdiction over a FRAND dispute, they have

responded to tactics like Ericsson’s by issuing antisuit injunctions.5 The



5 E.g., Microsoft, 696 F.3d 872, aff’g 871 F.Supp.2d 1089 (W.D. Wash.

2012); Huawei Techs. v. Samsung Elecs. Co., No. 3:16-cv-02787, 2018 WL
1784065 (N.D. Cal. Apr. 13, 2018); TCL Commc’n Tech. Holdings v. Tele-
fonaktiebolaget LM Ericsson, No. 8:14-cv-00341, 2015 WL 13954417

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injunctions protect the court’s jurisdiction by preventing the SEP holder

from seeking SEP-based injunctions elsewhere that would interfere with

the court’s ability to adjudicate the FRAND dispute before it.

     By the end of December, Ericsson’s foreign injunctions were piling

up against Lenovo. Ericsson continued to refuse Lenovo’s offers of secu-

rity and interim measures, and continued to press Lenovo to accept its

demands. So, Lenovo moved in the district court for an antisuit injunction

to prevent Ericsson from seeking or enforcing injunctions against Lenovo

on 5G SEPs while this case is pending. Appx2421-2446.

     Courts apply a three-part framework in this context. Microsoft, 696

F.3d at 881-82; BAE Sys. Tech. v. Rep. of Korea’s Def. Acquisition Prog.

Admin., 884 F.3d 463, 479 (4th Cir. 2018). Appx11-13. First, the court

compares the case before it with the case to be enjoined, and asks whether

the parties are substantially the same and whether the first action is dis-

positive of the action to be enjoined. If so, then second, the court considers

any factors traditionally favoring an antisuit injunction. And third, the

court weighs those factors against considerations of international comity.



(C.D. Cal. June 29, 2015); Realtek Semiconductor v. LSI Corp., 946
F.Supp.2d 998, 1008-10 (N.D. Cal. 2013) (enjoining enforcement of ITC
exclusion order).

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     The district court resolved this case at the threshold first step. The

court agreed with Lenovo that the Brazilian and Colombian actions in-

volved substantially the same parties. Appx14-15. But the court denied

the antisuit injunction because it believed the result of this action would

not be “dispositive” of the Brazilian and Colombian actions. Appx15-17.

The court based its ruling on the way Ericsson’s complaint phrased a re-

quest for relief, Appx15-16, and on its belief that it should not issue an

antisuit injunction if its proceedings would not “necessarily result in a

global cross-license.” Appx15-17.

     As noted, supra §C, Ericsson’s complaint requested declarations

that it complied with its FRAND obligations. Appx1059 (items j and k).

Further, “[i]f Ericsson’s offer is determined not to be consistent with its

F/RAND commitments” then Ericsson asked the court to declare a

FRAND rate for a global cross-license. Appx1059-1060 (item l). The court

appears to have believed that if it determined “Ericsson’s October 11 offer

is FRAND,” it would not need to consider the terms of a FRAND cross-

license. Appx16. The court emphasized that “Ericsson’s request” for a rate

determination was “contingent.” Id. Although the court acknowledged

that Lenovo’s counterclaim was not contingent, it seems to have assumed



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Lenovo’s counterclaim could be disregarded. The court thus concluded

that its proceedings were not “dispositive” of the actions in Brazil and

Colombia within the meaning of caselaw because its proceedings “will not

necessarily result in a global cross-license that resolves the foreign pa-

tent actions.” Appx17. For that reason alone, the court denied the antisuit

injunction. Id. Lenovo promptly appealed. Appx3443-3445.

     Seemingly emboldened by the district court’s ruling, Ericsson re-

sponded by expanding its campaign of foreign injunctions, including fil-

ing a new petition in Brazil five days later, and seeking to expedite its

foreign actions further, all while opposing Lenovo’s motion to expedite

this appeal. In the meantime, proceedings in district court are ongoing,

and Ericsson continues to escalate its attempts to enjoin Lenovo abroad,

while pressing Lenovo to accept its supra-FRAND licensing demands.

                      SUMMARY OF ARGUMENT

     This Court should reverse the district court’s order, and remand

with instructions to issue the antisuit injunction Lenovo requested.

     I.    The threshold requirements for antisuit relief are present

here. The parties and issues are the same, and this action would be dis-

positive of the action to be enjoined. This action concerns Ericsson’s



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contractual obligations to negotiate in good faith and license all of its 5G

SEPs on FRAND terms. Those contractual FRAND obligations are

squarely before the district court here, they apply to all of Ericsson’s al-

leged 5G SEPs, including those it is asserting in Brazil and Colombia,

and adjudication of the FRAND claims in this case would necessarily re-

solve the propriety of Ericsson seeking injunctions abroad.

     The district court correctly recognized that the threshold inquiry is

“functional,” not technical or formal. But it erred in its analysis of

whether this action would be “dispositive” of the foreign actions, and its

reasoning cannot be squared with the nearly identical facts of Microsoft

v. Motorola.

     First, the district court erroneously believed that the “dispositive”

prong is not met if there is any reason the case before it might not “result

in a global cross-license.” Appx15-17. The question of whether Ericsson

breached its duty to make offers that comply with its FRAND obligations

is squarely before the district court. A ruling that Ericsson breached that

duty would be dispositive because it would mean Ericsson has no right to

seek injunctions on SEPs. Microsoft explained that this is inherent in the

nature of a FRAND commitment and does not depend on whether a global



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cross-license automatically follows. The district court’s contrary reason-

ing disregards Microsoft, and misapprehends the dispute before it by con-

flating Ericsson’s FRAND negotiating obligation with its FRAND licens-

ing obligation.

     Second, the district court’s analysis disregards that Ericsson’s

prayer for relief and Lenovo’s counterclaim both explicit ask the court to

declare a FRAND rate for a global cross-license. The court erred by rely-

ing on the contingent nature of Ericsson’s request. If Ericsson breached

its duty to make FRAND offers, then Ericsson cannot seek injunctions.

And regardless of whether Ericsson did or did not breach its FRAND ob-

ligations, Lenovo’s request for a rate determination is squarely before the

court without any issue of contingencies through its counterclaim. Either

way, the threshold inquiry is met. The district court’s contrary reasoning

again conflates distinct aspects of Ericsson’s FRAND obligations. It is be-

side the point whether Lenovo would accept Ericsson’s offer if the court

determines the offer is reasonable. Lenovo has clearly committed to be

bound by the district court’s declaration of a FRAND rate—which is a

distinct question.




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     II.    The district court’s errors at step one are reason enough to

remand. But this court should reach steps two and three and reverse, as

other courts have done in similar circumstances. All three steps of the

analysis are fully joined on the record, and significant further delay from

a remand would only further Ericsson’s strategy of using foreign injunc-

tions to pressure Lenovo into to accepting supra-FRAND licensing terms.

At steps two and three, the relevant facts are undisputed and overwhelm-

ingly favor an antisuit injunction.

     A.     Any of the four antisuit injunction factors considered at step

two is reason enough to grant an injunction. All four are present here.

     The Brazilian and Colombian injunctions threaten the jurisdiction

of the district court because Ericsson is deploying them as an anticom-

petitive cudgel that to try to extract inflated licensing fees before the

court can rule on the pending contract issues. The foreign injunctions will

also cause inequity and frustrate domestic policies against injunctive re-

lief on SEPs, as well as broader policies against anticompetitive conduct

and breaches of contract. Lastly, the foreign injunctions are vexatious

and oppressive because they are a procedural maneuver aimed at coerc-

ing Lenovo to pay licensing fees for patents that reflect not their fair



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market value but Lenovo’s need to avoid irreparable damage to its inter-

national business.

     B.    At step three, there is no risk that an antisuit injunction

would offend international comity. Courts widely agree that private, con-

tractual disputes such as this generally do not raise comity concerns.

That is especially true where, as here, the requested injunction is nar-

rowly tailored to the specific threat. The requested injunction would pre-

vent Ericsson only from enforcing foreign injunctive orders against

Lenovo, only as to alleged SEPs, and only in advance of a court ruling on

the FRAND issues. The requested injunction would not otherwise pre-

vent Ericsson from litigating the foreign cases to completion.

     In sum, (1) the threshold inquiry for an antisuit injunction is met,

(2) the antisuit factors point overwhelmingly in favor of an antisuit in-

junction, and (3) those factors are not outweighed by comity concerns, in

light of the private nature of the dispute and the narrow tailoring of the

injunction sought. Rather than sanction a patent hold-up that leaves

Lenovo to choose between monopoly pricing for SEPs, severe penalties,

or exclusion from major international markets, this Court should reverse,

and order the district court to issue the antisuit injunction.



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                          STANDARD OF REVIEW

     The question “whether an anti-suit injunction should issue … is not

unique to patent law.” Sanofi-Aventis Deutschland GmbH v. Genentech,

Inc., 716 F.3d 586, 590-91 (Fed. Cir. 2013). To the extent intercircuit dif-

ferences exist, this Court applies regional circuit law—here, the Fourth

Circuit. Id. An order granting, denying or modifying an antisuit injunc-

tion is reviewed for an abuse of discretion. BAE, 884 F.3d at 479. A court

“necessarily abuse[s] its discretion if it base[s] its ruling on an erroneous

view of the law or on a clearly erroneous view of the evidence.” Cooter &

Gell v. Hartmarx Corp., 496 U.S. 384, 405 (1990); see also E.&J. Gallo

Winery v. Andina Licores S.A., 446 F.3d 984, 989 (9th Cir. 2006) (“[t]he

district court's interpretation of the underlying legal principles ... is sub-

ject to de novo review and a district court abuses its discretion when it

makes an error of law.”).

                               ARGUMENT

     “It is well-settled that U.S. courts have the power to enjoin parties

from pursuing litigation before foreign tribunals.” Sanofi-Aventis, 716

F.3d at 591; see Microsoft, 696 F.3d at 881; The Salvore, 36 F.2d 712, 714

(2d Cir. 1929). As noted, courts apply a three-part framework to decide



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whether to issue an antisuit injunction.6 Microsoft, 696 F.3d at 881-82;

BAE, 884 F.3d at 479; Appx11-13. First, the court makes a threshold in-

quiry into “‘whether or not the parties and the issues are the same’ in

both the domestic and foreign actions, ‘and whether or not the first action

is dispositive of the action to be enjoined.’” Microsoft, 696 F.3d at 881

(citing cases from three circuits); see BAE, 883 F.3d at 479 (citing Mi-

crosoft); Sanofi, 716 F.3d at 591. Second, the court considers whether any

factors traditionally favoring an antisuit injunction are present. Mi-

crosoft, 696 F.3d at 881-882. And third, it weighs those factors against

any impact the injunction would have on international comity, consider-

ing whether such “impact on comity is tolerable.” Id. at 880-881.



6 The parties agreed—and every court to consider the question directly

  has held—that this three-part framework governs here, as opposed to
  the more general preliminary-injunction factors. E.g., Quaak v. Klyn-
  veld Peat Marwick Goerdeler Bedrijfsrevisoren, 361 F.3d 11, 19 (1st
  Cir. 2004) (“Because this generic algorithm [the general preliminary-
  injunction factors] provides an awkward fit in cases involving interna-
  tional antisuit injunctions, district courts have no obligation to employ
  it in that context.”); E.&J. Gallo, 446 F.3d at 991 (movant “need not
  meet our usual test of a likelihood of success on the merits of the un-
  derlying claim to obtain an antisuit injunction,” but “need only demon-
  strate that the factors specific to an antisuit injunction weigh in favor
  of granting the injunction”); Ganpat v. E. Pac. Shipping PTE, Ltd., 66
  F.4th 578, 584 (5th Cir. 2023) (similar); Microsoft 696 F.3d at 883-84
  (similar).


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     The district court declined to exercise that power here because it

erroneously concluded, at the first step of the inquiry, that this case

would not be dispositive of Ericsson’s actions seeking injunctive relief for

SEPs. At a minimum, that requires vacatur. But the Court should re-

verse, because the relevant issues are fully joined, and an antisuit injunc-

tion is compelled on the undisputed facts of this case.

I.   The District Court’s Analysis Misapprehended the Parties’
     Dispute, and Conflicts with Precedent.

     A.    In Comparing the Parties and Issues, the District Court
           Correctly Recognized that the First-Step Inquiry is
           Functional, Not Formal or Technical.

     As the district court correctly recognized—“whether or not the par-

ties and the issues are the same” in both the domestic and foreign actions,

“and whether or not the first action is dispositive of the action to be en-

joined”— requires a functional analysis, not a formal or technical one.

Appx14; see Sanofi, 716 F.3d at 591; Microsoft, 696 F.3d at 882-83 (ob-

serving “emphasis on the functional character … We ask ‘whether the

issues are the same’ not in a technical or formal sense, but ‘in the sense

that all the issues in the foreign action … can be resolved in the local

action.’” (quoting Applied Med. Distrib. Corp. v. Surgical Co, 587 F.3d

909, 915 (9th Cir. 2009)).


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     In comparing the parties, the court correctly applied that standard.

It recognized Ericsson’s filings against Lenovo’s Brazilian and Colombian

affiliates were not a coincidence or unrelated to this case. Appx15. “It’s

not a secret that the Brazilian and Colombian actions are a direct result

of Lenovo US’s negotiations with Ericsson … [a]nd it is undisputed that

the Brazilian and Colombian entities are part of the Lenovo family,

[which] Ericsson alleges acts as a ‘unitary business venture.’” Appx15.

The court correctly rejected Ericsson’s arguments about whether the spe-

cific Lenovo parties in this case exercised formal “control” over the Bra-

zilian and Colombian affiliates, “conclud[ing],” correctly, “that Lenovo US

is substantially similar with the foreign defendants in the one way that

matters here.” Appx15.

     B.    By Ruling that this Action Would Not Be “Dispositive”
           of   the   Other    Actions,  the   District   Court
           Misapprehended Ericsson’s FRAND Commitment and
           the Dispute Here.

     The district court’s errors began in its analysis of whether this ac-

tion would be “dispositive” of the injunctions in Brazil and Colombia. The

court correctly recognized that the foreign “actions involve claims for pa-

tent infringement on 5G [SEPs] covered by Ericsson’s FRAND commit-

ment, and Ericsson has included those patents in its global licensing


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offer.” Appx15-16. The court found that this case would not be dispositive

of the foreign actions because Ericsson’s request for a FRAND rate deter-

mination was “contingent” on “the antecedent issue” of Ericsson’s “offer,”

and because its proceedings would not “necessarily result in a global

cross-license.” Appx15-17; see supra pp.18-19. The district court erred in

at least two ways. First, it misapprehended the nature of Ericsson’s

FRAND commitment, and the effect that a ruling on Ericsson’s “offer”

would have on foreign litigation. Second, in part because it disregarded

the balance of Ericsson’s contract claim and Lenovo’s counterclaim, the

court misapprehended the nature of the dispute before it. The parties’

dispute here is no different from Microsoft v. Motorola, and should have

led to the same result—an antisuit injunction.

           1.    A Ruling that Ericsson Has Not Complied with its
                 FRAND Commitment Would be Dispositive of
                 Ericsson’s Injunctive Actions.

     As discussed, above it is undisputed that (a) Ericsson committed to

license its 5G SEPs on FRAND terms, (b) its FRAND commitment under

the ETSI policy is a binding contract that Lenovo may enforce as a third-

party beneficiary. Supra pp.6-7. Those are also the facts of the Microsoft

case: (a) Motorola made binding contractual commitments with SSOs to



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license its SEPs on FRAND terms, and (b) Microsoft was a third-party

beneficiary of those commitments. 696 F.3d at 878. In Microsoft, as here,

the district court had contract claims before it contesting whether the

SEP holder’s “proposed royalty terms were unreasonable” and whether

its proposals “therefore breached its contractual [F]RAND obligations.”

Id. And in Microsoft, as here, the SEP holder (Motorola) obtained foreign

injunctions (in Germany) against the defendant based on alleged in-

fringement of declared SEPs. Id. at 879.

     Under those circumstances, the Ninth Circuit affirmed the district

court’s finding that the American contract case “would be dispositive of

the German patent action, because the European Patents at issue in

[Germany] were included in Motorola’s … [l]etter offering a worldwide

license for Motorola’s [SEPs], and because Motorola contracted with the

[SSO] to license the European Patents on [F]RAND terms to all appli-

cants on a worldwide basis.” Id. at 880 (internal quotation omitted); see

id. at 882-885.

     The district court should have reached the same conclusion here.

Even accepting the district court’s focus on Ericsson’s request for a ruling

on its program rate offer to Lenovo, Appx16, a ruling that Ericsson’s offer



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was not consistent with its FRAND commitment would be dispositive of

the actions in Brazil and Colombia.

     That is because, at a bare minimum, Ericsson cannot seek injunc-

tions based on its SEPs unless it is at least first making an offer con-

sistent with its FRAND commitment. See Microsoft, 696 F.3d at 884-85;

Realtek, 946 F.Supp.2d at 1006-07. As Ericsson has acknowledged from

the beginning, its FRAND commitment includes a duty to negotiate in

good faith. Appx1052(¶191). Whether Ericsson has done so is squarely

before the court. Appx16. If it has not done so, then it has no right to seek

injunctions against Lenovo on SEPs while the case is pending.

     As Microsoft recognized on indistinguishable facts, that is reason

enough to conclude that the district court contract claims would, if de-

cided in the defendant’s favor, be dispositive of the foreign injunction ac-

tions. 696 F.3d at 884-85. Microsoft explained that the fact of a FRAND

commitment is “at least arguably[] a guarantee that the patent-holder

will not take steps to keep would-be users from using the patented mate-

rial, such as seeking an injunction, but will instead proffer licenses con-

sistent with the commitment made.” 696 F.3d at 884.




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     In Realtek, the district court likewise issued an injunction prevent-

ing patentees from enforcing ITC exclusion orders, because the patentees

had not made FRAND offers before seeking injunctive relief. 946

F.Supp.2d at 1006-07. Contrary to Ericsson’s suggestions in other briefs

in this case, none of this “applie[s] a per se rule that injunctions are una-

vailable for SEPs.” Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1331 (Fed.

Cir. 2014). Realtek acknowledged, for example, that “an injunction may

be warranted where an accused infringer of a [SEP] outright refuses to

accept a [F]RAND license.” 946 F.Supp.2d at 1007 (citing case and DOJ-

PTO joint policy statement). But no such showing has been made here—

again, because the question before the district court is whether any

“FRAND license” has been offered to Lenovo in the first place.

     The district court’s contrary ruling appears to misapprehend the

nature of Ericsson’s obligations and the dispute before it. The court em-

phasized that Lenovo had not committed to “accept Ericsson’s offer if it

is declared FRAND,” and that its proceedings would not necessarily re-

sult in a global cross-license. Appx16-17.

     But whether Lenovo would accept the offer is beside the point, for

multiple reasons. For one, an offer can be consistent with the SEP



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holder’s obligations without being a “true FRAND rate.” Cf. TQ Delta,

LLC v. ZyXEL Commc’ns, Inc., No. 1:13-cv-02013, 2018 WL 2932728, at

*2 (D. Del. June 12, 2018) (observing UK court’s ruling in Unwired Planet

that “a patent holder does not breach FRAND obligations by offering a

license at higher than FRAND rates unless the rate is ‘significantly’

above the true FRAND rate.”); HTC Corp. v. Telefonaktiebolaget LM Er-

icsson, 12 F.4th 476, 487-88 (5th Cir. 2021) (observing distinction be-

tween finding “offers were not a breach of FRAND” and finding “offers

actually were FRAND”).

     More importantly, however, it is enough that there is an undisput-

edly enforceable contract before the court, and that a finding that Erics-

son breached that contract would mean Ericsson cannot pursue SEP-

based injunctions against Lenovo abroad. That is true regardless of

whether Lenovo would accept Ericsson’s offer, or whether proceedings

here would result in a cross-license. Microsoft explains all of this and re-

jected arguments from the patentee that match the district court’s rea-

soning here. Microsoft explained that it was enough, for the first step of

the antisuit injunction inquiry, that the FRAND claims before the district

court would resolve the propriety of Motorola seeking injunctions in



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Germany—regardless of whether a cross-license ultimately resulted. 696

F.3d at 885.

     [W]hether or not the district court ultimately determines that
     Motorola breached its contract with the ITU (it may or may
     not have), it is clear that there is a contract, that it is enforce-
     able by Microsoft, and that it encompasses not just U.S. pa-
     tents but also the patents at issue in the German suit. More-
     over, even if Motorola did not breach its contract, then, how-
     ever the RAND rate is to be determined…, injunctive relief
     against infringement is arguably a remedy inconsistent with
     the licensing commitment.

     That the licensing agreement is not itself a license according
     to the ITU Policy does not detract from this conclusion. The
     question is how the commitment to license is to be enforced,
     not whether the commitment itself is a license.

696 F.3d at 885 (original emphasis, paragraph break added).

     Consistent with Microsoft, a ruling against Ericsson on its offer

alone would be dispositive of the propriety of injunctions in Brazil and

Colombia. That is enough to satisfy the threshold inquiry for an antisuit

injunction, and enough to reverse the district court’s ruling.

           2.    A Ruling on the Balance of Ericsson’s Contract
                 Claim or Lenovo’s Counterclaim Would Also be
                 Dispositive of Ericsson’s Injunctive Actions.

     The district court also erred by disregarding the parties’ dueling

claims requesting a FRAND rate for a global cross-license. Ericsson’s

complaint requested that the Court “adjudge and declare a F/RAND rate



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for a global cross-license between Ericsson and Defendants covering Es-

sential Patents.” Appx1059-1060 (item l). Lenovo’s compulsory counter-

claim likewise “request[ed] a judicial declaration that sets the FRAND

terms and conditions for a global patent cross-license between Ericsson

LM and Lenovo US that includes the parties’ and their related compa-

nies’ respective declared SEPs.” Appx2154(¶89).

      It does not matter that Ericsson’s request was contingent on the

court determining that Ericsson’s “offer” was not “consistent with its

F/RAND commitments.” Appx1059-1060 (item l); Appx16. Both requests

are squarely before the court, and neither party disputes the court’s ju-

risdiction. Moreover, as just explained, supra §I.B.1., if Ericsson’s contin-

gency arose—i.e., if the court found that Ericsson’s offers breached its

FRAND commitment—then that alone would resolve the propriety of Er-

icsson seeking injunctions abroad. And then, as requested by both Erics-

son and Lenovo, the court would then be tasked with declaring a FRAND

rate for a global cross-license.

      And if the contingency did not arise, that would mean the court de-

cided that Ericsson’s offer did comply with its FRAND obligations. In

that instance, the court would still have Lenovo’s counterclaim asking



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the court to decide that very issue, which Lenovo has agreed would be

binding. Either way, the inescapable conclusion is that whatever the

court decides will be dispositive of the propriety of Ericsson seeking in-

junctions on its SEPs in Brazil and Colombia.

     The district court’s contrary reasoning misses the mark. The court

states “[i]t is not the business of the federal courts to draft agreements

for the parties, and it makes little sense to start now.” Appx17. But to

declare a FRAND rate and to determine whether an offer complies with

FRAND obligations—as both parties have requested here—is not to

“draft agreements for the parties.” Rather, it is a matter of enforcing the

agreements the parties have already made. Again, all agree that Ericsson

and Lenovo’s FRAND pledges under the ETSI policy are binding con-

tracts that each other may enforce as a third-party beneficiary. Where a

contract requires a party to negotiate and license on FRAND terms, a

claim for breach will often require the court to evaluate an offer or declare

a FRAND rate. E.g., Microsoft Corp. v. Motorola, Inc., No. C10-1823 2012

WL 4827743, at *6 (W.D. Wash. Oct. 10, 2012) (“unless the parties on

their own can come to an agreed RAND licensing agreement, the




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courthouse acts as an appropriate forum to resolve disputes over legal

rights.”).

      The district court’s reliance on Apple Inc. v. Motorola Mobility, Inc.,

No. 11-cv-178, 2012 WL 5416931 (W.D. Wis. Nov. 2, 2012) and Interdigi-

tal Commc’ns Inc. v. ZTE Corp., 2014 WL 2206218 (D. Del. May 28, 2014),

see Appx17, misreads those cases and conflates Ericsson’s offer with an

actual cross-license. As explained above, the two are distinct. See supra

pp.30-33; TQ Delta, 2018 WL 2932728, at *2; HTC, 12 F.4th at 487-88.

Lenovo has not committed to accepting Ericsson’s offer if the court deter-

mines that it is consistent with Ericsson’s FRAND obligations. But

Lenovo has committed to be bound by the requested declaration of

FRAND terms and conditions for a cross-license, and to post substantial

security in the interim. Appx3174-3175 (citing Appx2631-2632;

Appx2153-2154 (Countercl. III); Appx2577(¶67); Appx3198-3199).

      In Apple, the opposite was true—Apple stated it “will not commit to

be bound by any FRAND rate determined by the court and will not agree

to accept any license from Motorola unless the court sets a rate of $1 or

less for each Apple phone.” 2012 WL 5416931, at *1. Apple also “re-

serve[d] the right to refuse and proceed to further infringement



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litigation.” Id. In Interdigital, the defendants stated only their general

“‘willingness’ to accept a license,” but “there ha[d] been no sworn affidavit

by either [defendant] that they would sign a license,” and they reserved

rights to litigate “validity, essentiality, and infringement” before making

any payments. 2014 WL 2206218, at *2-3. In those circumstances, both

courts declined to declare a FRAND rate that would not bind the parties.

Apple, 2012 WL 5416931, at *1; Interdigital, 2014 WL 2206218, at *3.

Contrary to the district court’s suggestion, neither court acted out of a

general concern that declaring a FRAND rate would improperly put fed-

eral courts in the “business” of “draft[ing] agreements for the parties.”

Appx17. Rather, the concern was with parties refusing to be bound by the

declaration and merely using it as an advisory negotiating tool. Apple,

2012 WL 5416931, at *1 (“Apple’s response … did not assuage my con-

cerns about determining a FRAND rate that may be used solely as a ne-

gotiating tool between the parties.”); Interdigital, 2014 WL 2206218, at *3

(“All the Court's determination of a FRAND rate would accomplish would

be to give a data point from which the parties could continue negotia-

tions.”).




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      This case is unlike Apple v. Motorola or Interdigital v. ZTE, and it

is exactly like Microsoft. There is no question of whether a declared

FRAND cross-license rate here would bind the parties. Both parties have

filed dueling claims asking the court to declare a FRAND cross-license

rate. Lenovo has agreed to be bound by the court’s determination of

FRAND terms and conditions for a cross-license, and Ericsson has even

told the UK court that it prefers to proceed in the district court here. The

district court’s reasoning purports to distinguish Microsoft, but cannot be

squared with that decision. An affirmance here would either create a di-

rect conflict with Microsoft, or it would render that decision meaningless

by ruling that it can be evaded through artful pleading. At a minimum,

the Court should correct the district court’s erroneous analysis of the

threshold step of the antisuit injunction inquiry.

II.   This Court Should Reverse, and Order Entry of Lenovo’s
      Requested Antisuit Injunction.

      If this Court concludes that the threshold requirements for antisuit

relief are met, it should reach the remaining steps in the analysis and

order the injunction to issue, rather than remanding for the district court

to complete the analysis. That would be appropriate here because “the

district court fail[ed] to analyze the factors necessary,” and “the record is


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sufficiently developed.” Westar Energy, Inc. v. Lake, 552 F.3d 1215, 1224

(10th Cir. 2009); see also Nomadix, Inc. v. Guest-Tek Interactive Ent. Ltd.,

No. 20-55439, 2021 WL 4027807, at *3 n.4 (9th Cir. Sept. 3, 2021) (“Given

the circumstances, we may consider in the first instance whether No-

madix has satisfied the federal permanent injunction standard.”). More-

over, time is of the essence. Lenovo remains under the threat of severe

penalties in Brazil and Colombia. That will remain so until Lenovo ob-

tains relief or buckles from the pressure of foreign injunctions and settles

at the supra-FRAND royalty rates Ericsson is demanding.

     A.    Multiple Factors Favor an Antisuit Injunction.

     At step two of the antisuit injunction analysis, courts consider

whether any of the four antisuit injunction factors applies—i.e., whether

the foreign proceeding would: “(1) frustrate a policy of the forum issuing

the injunction; (2) be vexatious or oppressive; (3) threaten the issuing

court’s in rem or quasi in rem jurisdiction; or (4) where the proceedings

prejudice other equitable considerations.” Microsoft, 696 F.3d at 882. Any

single factor is reason enough to issue the injunction. See id. at 881. All

four are present here.




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           1.    Ericsson’s Foreign Injunctions Threaten the
                 District Court’s Jurisdiction.

     Ericsson’s foreign injunctions threaten the district court’s jurisdic-

tion (factor #3 in the Microsoft list) by rendering it incapable of issuing a

meaningful ruling in this case. The injunctions are likely to—indeed, in-

tended to—pressure Lenovo into accepting Ericsson’s supra-FRAND li-

censing terms before the district court can adjudicate Ericsson’s claim

about whether it complied with its FRAND obligations in the first place

or declare a FRAND rate for a global cross-license between the parties.

Any ruling from the district court, then—if it can reach one without the

case being mooted—will become a mere formality.

     That result is untenable. “[O]ne clear policy that all federal courts

recognize—even those which have been loath to interfere with foreign

proceedings—is the need to protect the court’s own jurisdiction.” Zynga,

Inc. v. Vostu USA, Inc., No. 11-CV-02959, 2011 WL 3516164, at *3 (N.D.

Cal. Aug. 11, 2011). Precedent recognizes a threat to the U.S. court’s ju-

risdiction whenever a foreign injunction “compromise[s] the court’s abil-

ity to reach a just result in the case before it free of external pressure on

[the defendant] to enter into a ‘holdup’ settlement before the litigation is

complete.” Huawei, 2018 WL 1784065, at *10 (quoting Microsoft, 696


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F.3d at 886). In that situation, the foreign injunction is likely to under-

mine the district court’s “ability to determine the propriety of injunctive

relief in the first instance.” Id.

      Here, there is little value in the district court proceedings regarding

whether Ericsson has breached its contractual obligations, or in adjudi-

cating a FRAND rate between the parties, while Ericsson seeks to impose

market exclusion and harsh penalties on Lenovo. By the time any ruling

issues, it will likely be too late. If Lenovo is forced to succumb to that

pressure before the district court can rule, the case will become moot. As

explained, that is one of the main reasons why courts have commonly

issued antisuit injunctions in the standards context.

      To be sure, Ericsson’s foreign injunctions “may not constitute a

frontal assault on the district court’s jurisdiction” in “technical terms,”

yet “the practical effect is the same”—the district court is ousted from its

proper position in adjudicating the private contract rights at issue here.

Quaak, 361 F.3d at 20. “That is a matter of considerable import: a court

has a right—indeed, a duty—to preserve its ability to do justice between

the parties in cases that are legitimately before it.” Id. The district court

can do no such justice with Lenovo in a vice grip between devastating



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financial penalties on one side and Ericsson’s monopoly pricing on the

other. The Brazilian and Colombian injunctions thus “have frustrated

[the district] court’s ability to adjudicate issues properly before it” and

“[t]he integrity of this action, therefore, will be lessened without an an-

tisuit injunction.” Huawei, 2018 WL 1784065, at *10 (quoting Microsoft,

871 F. Supp. 2d at 1100).

           2.    Ericsson’s Foreign Injunctions Offend Domestic
                 Policy and Other Equitable Considerations.

     Ericsson’s foreign injunctions frustrate domestic policy and other

equitable considerations (factors #1 and #4). The “bulk of precedent” pro-

vides that an antisuit injunction is appropriate where the foreign injunc-

tion “would frustrate specific domestic policies against [1] injunctive re-

lief on SEPs and general public policies against [2] anticompetitive con-

duct and [3] breaches of contract.” Huawei, 2018 WL 1784065, at *9. The

weight of precedent from domestic and foreign courts and government

agencies, all recognizes the public good that FRAND pledges serve, the

extreme tension between a SEP holder’s FRAND pledge and the SEP

holder’s pursuit of injunctions, and the undesirability of permitting a

SEP holder to use injunctions as a pressure tactic to evade its FRAND

pledge.


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     In Microsoft, in affirming the district court’s antisuit injunction, the

Ninth Circuit observed that pursuing injunctions while a suit to deter-

mine FRAND rates is pending suggests that “the real motivation was to

induce” the implementer “to agree to a license at a higher-than-[F]RAND

rate.” Microsoft Corp. v. Motorola, Inc., 795 F.3d 1024, 1046 (9th Cir.

2015).

     In Realtek, the district court granted an antisuit injunction, observ-

ing that “the act of seeking injunctive relief” on standard essential pa-

tents “is inherently inconsistent” with a FRAND commitment, which “im-

plies a promise not to seek injunctive relief either domestically … or

abroad.” 946 F.Supp.2d at 1009.

     In TCL, the district court granted an antisuit injunction against

Ericsson for similar reasons, observing “[a] reasonable fact-finder could

reasonably infer that [Ericsson’s] campaign of litigation was [] initiated

… to effectively force [the implementer] to actually submit to terms that

a reasonable fact-finder could find were not FRAND.” TCL Commc’n

Tech. Holdings v. Telefonaktiebolaget LM Ericsson, No. 8:14-cv-341, 2016

WL 6562075, at *4 (C.D. Cal. Aug. 9, 2016). That court explained that the

“conduct of initiating infringement lawsuits and pursuing injunctive



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relief can constitute something more than the more innocent conduct of

merely making offers that are not, themselves, FRAND.” Id.

     The district court in Apple Inc. v. Motorola Mobility, Inc., No. 11-cv-

178, 2012 WL 5416941, at *15 (W.D. Wis. Oct. 29, 2012) explained that

injunctive relief and FRAND licensing commitments are in tension “from

a policy and economic standpoint.” Id. One of the fundamental purposes

of a FRAND commitment is that a holder of a standard-essential patent

does not “extract unreasonably high royalties from suppliers of standard-

compliant products and services.” Microsoft, 696 F.3d at 876. But an in-

junction excluding an implementer of the patents from major markets

enables the holder to do just that.

     And not just American courts, but European courts and agencies,

have likewise recognized that injunctions are in sharp tension—if not

outright irreconcilable—with FRAND commitments. Id. at 885; J.L. Con-

treras et al., Litigation of Standards-Essential Patents in Europe: A Com-

parative Analysis, 32 BERKELEY TECH. L.J. 1457, 1465 & nn. 40-45 (2017)

(citing U.S. and Europe court decisions limiting FRAND-encumbered

SEP holders’ recourse to injunctions; and competition enforcement agen-

cies acting against such requests for injunctions). The FTC, for example,



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has observed the danger that a SEP holder may use “injunctive relief as

‘undue leverage in negotiations’ to obtain compensation in excess of the

actual value of the patented technology.” FTC Amicus Br., Apple Inc. v.

Motorola, Inc., Fed. Cir. No. 12-1548, 2012 WL 6655899, at *3 (filed Dec.

14, 2012). The FTC explained “[A] royalty negotiation that occurs under

the threat of an injunction may be heavily weighted in favor of the pa-

tentee in a way that is in tension with the [F]RAND commitment. High

switching costs combined with the threat of an injunction could allow the

patentee to obtain unreasonable licensing terms … because implement-

ers are locked into practicing the standard.” Id. at *6. As the FTC’s then-

chairman put it more bluntly, “[C]ompanies cannot make those [FRAND]

commitments when it suits them—that is, to have their patents included

in a standard and then behave opportunistically later, once the standard

is in place and those relying on it are vulnerable to extortion.” Realtek,

946 F.Supp.2d at 1007 (quoting remarks of FTC Chairman Jon Leibow-

its).

        In other words, courts and agencies around the world have recog-

nized that Ericsson’s tactics are contrary to public policy. None of this is

to suggest “a per se rule that injunctions are unavailable for SEPs.” Apple,



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757 F.3d at 1331. If, for example, an accused infringer “outright refuses

to accept a [F]RAND license,” Realtek, 946 F.Supp.2d at 1007, or refuses

to negotiate at all, that may justify an injunction in appropriate cases.

But no such finding has been made in this case (nor could it.). In the mine

run of cases—and especially here—injunctions for SEPs contravene pub-

lic policy.

      Ericsson has Lenovo in the stranglehold of a patent holdup (trying

to extract rates that do not reflect the value of the patents) and, in so

doing, is breaching its contractual promise to license its standard essen-

tial patents on FRAND terms. As Ericsson itself has agreed in other liti-

gation (when it was on the other side of a holdup)—implicit in the prom-

ise Ericsson made during the standard development process is that it

would “not take steps to keep would-be users from using the patented

material, such as seeking an injunction, but will instead proffer licenses

consistent with the commitment made.” Microsoft, 696 F.3d at 884;

Appx2590(¶148) (Ericsson arguing in other litigation that seeking in-

junctive relief “is contrary to and in violation of [the patent holder’s] com-

mitment to adhere to the FRAND policy which assures that no patent

owner can exclude competitors from the marketplace[.]”). Ericsson’s



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position is particularly bizarre considering it does not contest that the

ETSI policy is a binding contract or that Lenovo is an intended third-

party beneficiary. Appx1053-1054(¶¶201-02).

     Declining to issue an antisuit injunction here would let live Erics-

son’s foreign exclusion orders which offend U.S. public policies against

anticompetitive conduct, breaches of contract, and injunctive relief

against standard essential patents. The injunctions are anticompetitive

because they enable Ericsson to extract inflated licensing terms under

the threat of harsh penalties or market exclusion; they breach Ericsson’s

contractual commitments because Ericsson is not making its standard

essential patents available on FRAND terms; and they offend the funda-

mental policy that injunctive relief is not appropriate in the context of

standard essential patents.

           3.   Ericsson’s Foreign Injunctions are Vexatious and
                Oppressive.

     Litigation is vexatious when it is “without reasonable or probable

cause or excuse; harassing; [or] annoying.” Microsoft, 696 F.3d at 886

(quoting Black’s Law Dictionary). Importantly, litigation may have some

merit yet still be vexatious. Id. “‘[U]nwarranted inconvenience and




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expense’ can suffice to constitute hardship meriting an antisuit injunc-

tion.” Ganpat, 66 F.4th at 582 (citation omitted).

      Again, Microsoft is instructive. There, Motorola initiated separate

foreign proceedings seeking injunctive relief while the federal district

court was adjudicating the contract claims at issue. Microsoft, 696 F.3d

at 886. That “procedural maneuver,” the court explained, appeared to be

“designed to harass Microsoft with the threat of an injunction removing

its products from a significant European market and so to interfere with

the court’s ability to decide the contractual questions already properly

before it.” Id.

      This case is on all fours with Microsoft. After the district court’s

adjudication of the contract dispute that Ericsson filed was underway,

Ericsson sought and obtained foreign injunctions to exclude Lenovo from

significant international markets and threaten it with substantial penal-

ties. The practical result is that Lenovo suffers significant financial pres-

sure to submit to an inflated rate for Ericsson’s patents, in order to avert

irreparable losses to its operations in Brazil, Colombia, and beyond. That

pressure encumbers Lenovo’s ability to litigate this case on the merits.




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In turn, it obstructs the district court’s ability to decide the contractual

question already properly before it.

       The vexatious and harassing nature of Ericsson’s foreign injunc-

tions is further confirmed by the fact that Ericsson’s behavior gains it

nothing commercially. Lenovo and Ericsson do not compete. And what-

ever injury (if any) Ericsson suffers while the licensing dispute is resolved

could easily be compensated with money damages. Indeed, Lenovo pro-

posed steps to proactively address any such injury—including offering a

 offer terms —but Ericsson did not accept. Appx2611(¶3(b)).
       Because Ericsson’s foreign exclusion orders serve no purpose other

than to harass Lenovo and cause it unnecessary expense, they are vexa-

tious and oppressive. Microsoft, 696 F.3d at 886; Ganpat, 66 F.4th at 582.

       B.    The Antisuit Injunction Would Not Have an Intolerable
             Effect on Comity.

       The final consideration in the antisuit injunction calculus is

whether the requested injunction’s impact on international comity would

be “tolerable.” Microsoft, 696 F.3d at 887. At the third step, different cir-

cuits have stated different tests of weighing comity considerations. The

Fourth Circuit has not taken a definitive position. See BAE, 884 F.3d at

479.


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     Courts following what is sometimes called the “conservative ap-

proach” give relatively more weight to comity, requiring that “(1) an ac-

tion in a foreign jurisdiction would prevent United States jurisdiction or

threaten a vital United States policy, and (2) the domestic interests out-

weigh concerns of international comity” before an antisuit injunction will

issue. Goss Int’l Corp. v. Man Roland Druckmaschinen Aktiengesell-

schaft, 491 F.3d 355, 359 (8th Cir. 2007). Courts following the so-called

“liberal” approach are relatively more willing to issue antisuit injunc-

tions—stating that they are appropriate whenever “necessary to prevent

duplicative and vexatious foreign litigation and to avoid inconsistent

judgments.” Id. at 360.

     Those different locutions may produce different results in close or

marginal cases. But in this case, the antisuit factors are overwhelming,

§II.A, supra, and there are no substantial comity concerns weighing

against an antisuit injunction. That is so for three reasons.

     First, this case concerns a private, contractual dispute. And in the

“context of a private contractual dispute” like this one, “comity is less

likely to be threatened … than in a dispute implicating public interna-

tional law or government litigants.” Microsoft, 696 F.3d at 887. The



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fundamental issue for the district court to decide is whether Ericsson has

violated its contractual commitment under ETSI’s Intellectual Property

Rights policy requiring it to license its patents on FRAND terms—and, if

it has, to declare terms for a cross-license between the parties. Appx1056

(Count VII); Appx2095-2096 (Countercl. III). No matter how described,

this is a “private dispute” concerning FRAND commitments that “does

not raise any ‘public international issues.” Microsoft, 696 F.3d at 888.

Ericsson does not dispute that fact—nor could it. Lenovo is a “private

party in a contractual dispute with” Ericsson, “another private party,”

and this case “deals with enforcing a contract and giving effect to sub-

stantive rights.” E.&J. Gallo Winery, 446 F.3d at 994.

     Courts widely agree that “an anti-suit injunction in the service of

‘enforcing a contract’ between private parties does not ‘breach norms of

comity.’” Microsoft, 696 F.3d at 888 (quoting E.&J. Gallo Winery, 446

F.3d at 994). Ericsson and Lenovo are not government entities, nor are

any government entities implicated by the requested injunction. It thus

“has no obvious consequences for international relations.” Ganpat, 66

F.4th at 583. As such, “comity concerns are at a minimum.” Id.




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     Second, Ericsson only sought expedited foreign injunctive relief af-

ter the case that it filed was underway. “The order in which the domestic

and foreign suits were filed, although not dispositive, may be relevant to

this determination depending on the particular circumstances.” Mi-

crosoft, 696 F.3d at 887. In particular, “enjoining [a] foreign action” where

it was subsequently filed does “not ‘intolerably impact comity’” because

the later filed suit “raises the concern that [the] party is attempting to

evade the rightful authority of the district court.” See id. (simplified)).

     More than a month after it filed suit against Lenovo in the U.S.,

Ericsson sought and obtained injunctions in Brazil and Colombia. Its rea-

son for doing so is not that the district court cannot provide complete re-

lief (it can) or that Ericsson will be irreparably harmed by Lenovo’s oper-

ations in those countries (money damages, if any, would be sufficient and

Lenovo offered to   offer terms      toward licenses terms to be sorted out

by the district court, Appx2611(¶3(b)). Rather, it was to exert pressure

on Lenovo—sandwiched between exclusion from key markets or massive

financial penalties—to accept supra-FRAND licensing terms before the

district court had the chance to declare proper terms.




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     It would thus not be an affront to comity for this court to enjoin

Ericsson’s attempt to evade the rightful authority of the district court.

     Third, Lenovo seeks only to prevent Ericsson from enforcing the

Brazilian and Colombian injunctions while this suit is pending—not from

litigating the foreign cases on the merits. The scope of the antisuit in-

junction sought is “another factor relevant to the comity inquiry” because

“[c]omity teaches that the sweep of the injunction should be no broader

than necessary to avoid the harm on which the injunction is predicated.”

Microsoft, 696 F.3d at 887 (citing Laker Airways Ltd. v. Sabena, Belgian

World Airlines, 731 F.2d 909, 933 n.81 (D.C. Cir. 1984)).

     The proposed injunction leaves Ericsson free to continue litigating

“its [foreign] patent claims against [Lenovo] as to damages or other non-

injunctive remedies to which it may be entitled.” Id. at 889. Further, it

would not “run against a foreign official or agency” and plainly would not

“ruffle the smooth surface of our relations with [Colombia and Brazil].”

Allendale Mut. Ins. Co. v. Bull Data Sys., Inc., 10 F.3d 425, 432 (7th Cir.

1993). “Indeed, depending on the outcome of the district court litigation,

[Ericsson] may well ultimately be able to enforce the [foreign] injunc-

tion[s].” Microsoft, 696 F.3d at 889.



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     Ultimately, the “only concern with international comity is a purely

theoretical one that ought not trump a concrete and persuasive demon-

stration of harm” to Lenovo “if it is denied, not offset by any harm to

[Ericsson] if it is granted.” Allendale Mut. Ins. Co., 10 F.3d at 432-433.

There is no conceivable threat to international comity from the injunction

Lenovo requested here.

                               CONCLUSION

     For the foregoing reasons, the Court should reverse the decision be-

low, and order the district court to enter Lenovo’s requested antisuit in-

junction.

March 22, 2024                             Respectfully submitted,

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                      ADDENDUM
Order denying appellants’ motion for antisuit injunction
     (Dkt. 71, Feb. 14, 2024) ...................................................... Appx1-18
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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                              No. 5:23-CV-00569-BO



TELEFONAKTIEBOLAGET LM                     )
ERICSSON                                   )
                                           )
                     Plaintiff,            )
V.                                         )
                              )
LENOVO (UNITED STATES), INC.; )
LENOVO (SHANGHAI) ELECTRONICS )
TECHNOLOGY CO. LTD. ;         )
LENOVO BEIJING, LTD.;         )
LENOVO GROUP, LTD. ; MOTOROLA )
(WUHAN) MOBILITY TECHNOLOGIES )
COMMUNICATION CO., LTD;       )
and MOTOROLA MOBILITY, LLC,   )
                              )
                 Defendants.  )                                  ORDER

LENOVO (UNITED STATES), INC. , and         )
MOTOROLA MOBILITY, LLC,                    )
                                           )
              Counterclaim-Plaintiffs,     )
                                           )
V.                                         )
                                           )
TELEFONAKTIEBOLAGET LM                     )
ERICSSON, ERICSSON AB , and                )
ERICSSON INC.                              )
                                           )
              Counterclaim-Defendants.     )



       This matter is before the Court on Defendants and Counterclaim-Plaintiffs Lenovo (United

States), Inc. ("Lenovo US") and Motorola Mobility LLC's motion for temporary restraining order

and anti-suit injunction. [DE 35]. Lenovo US and Motorola Mobility seek an anti-suit injunction




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prohibiting Plaintiff and Counterclaim-Defendant Telefonaktiebolaget LM Ericsson from

enforcing injunction orders issued in foreign jurisdictions.

       The motion for TRO and anti-suit injunction has been fully briefed. The Court held a

hearing on 11 January 2024 in Elizabeth City, NC, where Ericsson, Lenovo US and Motorola

Mobility were represented by counsel. The motion is ripe for decision . For the following reasons,

the Court denies Lenovo's motion for an anti-suit injunction.

                                            BACKGROUND

        Lenovo and Ericsson are major players in the mobile telecommunications industry.' Their

patent portfolios comprise domestic and international patents implemented into cellphones and

other cellular network applications. For over a decade, the parties have negotiated towards a global

cross-licensing agreement that would allow Lenovo and Ericsson to implement the other's

essential patents into their devices. Recent negotiations have focused on patents essential to the

5G network. They have not proved fruitful , and the parties have taken their dispute to the courts.

And not only in the Eastern District of North Carolina but also Brazil, Colombia, and the United

Kingdom.

        Now, Lenovo moves for an anti-suit injunction to prevent Ericsson from enforcing

injunction orders it obtained against the sale of Lenovo products m foreign jurisdictions,

particularly Colombia and Brazil. Because the parties are bound together by a common

commitment to industry practices, understanding those commitments and their implications is

essential to resolving the instant motion.




1
 As the caption makes clear, Lenovo and Ericsson are multinational corporations comprising domestic and
international subsidiaries and affiliates. Throughout this Order, the Court will refer to Lenovo and Ericsson
collectively deviating only where there is a meaningful distinction between the various subsidiaries and
affi liates.


                                                     2
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       The Court ventures to say that most consumers are unaware, perhaps blissfully so, of the

inner workings of cellular networks. One of the features that most take for granted is the ability to

send and receive text messages, e-mails, and phone calls regardless of who manufactured the

device, who designed its operating system, and which carrier facilitates their network connection.

This seamless interconnectivity has a technical term: interoperability.

       Interoperability is the result of technical standards set by private organizations,

organizations known, aptly, as standard development organizations ("SDOs"). The standards

govern how cellular devices access the cellular network by setting forth the technical specifications

that act like a blueprint for manufacturers and network operators. The European

Telecommunications Standards Institute, a foremost SDO in the telecommunications industry,

helped promulgate the 3G, 4G, and 5G standards through its participation in the 3rd Generation

Partnership Project ("3GPP"). Both Lenovo and Ericsson are members of the ETSI. When the

ETSI and other members of the 3GPP set standards, they often incorporate patented technology

created by members of the SDO. A patent that is selected to be part of the standard is known as a

standard essential patent. What makes the patent essential is the impossibility of complying with

the standard without infringing on that patent.

       Standards do more than just facilitate interoperability. Standards are good for the consumer

because they also lower costs and increase price competition. Microsoft, 696 F.3d 876. Standards

are great for patent holder because they contain the seeds of disproportionate market power. Once

a standard has been accepted by the market, the patent holder is positioned to extract high royalties

from those who wish to implement the SEPs. If the implementer wants to offer products connected

the latest and best technology, they have a choice: The implementer can license the essential patent

from the patent holder at the terms set by the patent holder, or the implementer can infringe on the




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essential patent and risk a patent infringement lawsuit. See HTC Corp. v. Telefonaktiebolget LM

Ericsson, 12 F.4th 476, 481 (5th Cir. 2021).

       To combat such an imbalance, known as "patent holdup," many SDOs tip the scales

towards equipoise by imposing conditions on essential patents. Id. The ETSI's IP rights policy

checks anti-competitive behavior by securing voluntary commitments from the owners of would-

be essential patents to license their patents on fair, reasonable, and non-discriminatory terms

("FRAND"). Specifically, Clause 6.1 of the IP rights policy requires the patent holder to commit

to "an irrevocable undertaking in writing that it is prepared to grant irrevocable licenses on fair,

reasonable, and non-discriminatory ("FRAND") terms and conditions .. . [which] may be made

subject to the condition that those who seek licenses agree to reciprocate." Comp. ii34. [DE l] ;

Countercls. ii24, [DE 29]. This commitment undercuts the patent holder's ability to engage in anti-

competitive behavior. Companies seeking to license the essential patents become third-party

beneficiaries of the contract between the essential patent holder and the ETSI, ensuring that they

will be able to license the essential patent at a FRAND rate. HTC, 12 F .4th at 481.

       This commitment to offer a FRAND rate, powerful as it may be, binds ETSI members to a

goal while leaving how to get there up to the patent holders and implementers. That is, the patent

holder is required only to offer license terms that are FRAND. How the parties arrive at those

terms and what it takes to hammer out a deal is left for the parties to determine. See Adam Mossoff,

Patent Injunctions and th e FRAND Commitment: A Case Study in the ETSI Intellectual Property

Rights Policy, 38 Berkeley Tech. L.J. 487, 498 (2023).

       Ericsson and Lenovo hold essential patents (either directly or through their related entities)

incorporated in the 5G cellular standard. Both are members of the ETSI. Both have agreed that

they are prepared to grant licenses to implementers on FRAND terms. And both agree that they




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are beneficiaries of the other's commitment. What they haven't been able to agree on is the terms

of a global cross-license, and not for a lack of trying.

       Ericsson and Lenovo have negotiated over a global cross-license for various essential

patents for over a decade. During these negotiations Lenovo purchased Motorola, which entered

into a licensing agreement with Ericsson in 2011. What started as a negotiation for 2G and 3G

essential patents has evolved, as technology does, into a dispute over 4G and 5G essential patents.

The most recent phase of those negotiations- the phase over 5G essential patents-is what matters

for the motion currently before the Court.

        In 2017 Ericsson publicly announced its 5G royalty rates in advance of the 3GPP's

announcement of the 5G standard. Ericsson states that it was prepared to grant licenses at a rate of

$5 per 5G device with a floor of $2.5 per device. Around that same time, Lenovo and Ericsson's

negotiations began to include discussion over the 5G patents. In 2018, Lenovo and Ericsson

mediated with both exchanging offers the other considered not FRAND. Since then, the parties

seem to have spent much of their time negotiating non-disclosure agreements that would facilitate

the sharing of confidential information about the essential patents. Com pl. 80-81, [DE 1] ;

Countercls. ,r,r32-40, [DE 29].

        On 11 October 2023 , Ericsson made an offer to cross-license its portfolio of 5G standard

essential patents at a rate of 1% per 5G device with a $4 cap. Mem. in Opp ' n, Ex. 5, [DE 47-7].

An offer, Ericsson highlights that is below its publicly announced FRAND rate of $5 per device.

Additionally, Ericsson maintains that rate for its 5G patent portfolio is FRAND because the Fifth

Circuit recently affirmed a jury verdict declaring that same rate to be FRAND for Ericsson 's 4G

patents. HTC Corp. Telefonaktiebolaget LM Ericsson, 407 F.Supp.3 d 631, 633-641 aff'd, 12 F.4th

476 (5th Cir. 2021).




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       The day Ericsson offered a global cross-license at a rate of 1% per 5G device capped at $4

per device, it filed its complaint before the Court:

       •    Count 1 through Count 4 allege that Lenovo infringes on four of Ericsson's
            domestic 5G essential patents.

        •   In Count 5, Ericsson alleges that Lenovo breach obligations created by the ETSI
            IP rights policy. Specifically, that once Lenovo began negotiations for FRAND
            terms it was obligated under French law to negotiate in good faith;

        •   In Count 6, Ericsson alleges that Lenovo breached its contractual commitments
            under the ETSI IP rights policy which Lenovo is entitled to rely on as a third-
            party beneficiary of Ericsson's commitments to the ETSI;

        •   Count 7 asks for a declaration that Ericsson' s 11 October 2023 , offer complied
            with its FRAND commitment. And, if the Court declares that offer was not
            FRAND, Ericsson requests the Court declare a FRAND rate for a global-cross
            license.

Compl. ,r,r 146- 222, [DE 1]. In December, Lenovo US and Motorola Mobility asserted

counterclaims that largely mirror Ericsson ' s complaint:

        •   Count 1 alleges that Ericsson breached its obligations under the ETSI IP rights
            policy;

        •   Count 2 claims that Ericsson breached its obligation under the ETSI IP rights
            policy to negotiate in good faith when it refused to offer its essential patents on
            FRAND terms;

        •   Count 3 seeks a declaration setting FRAND royalty rates for a global patent
            cross-license between Ericsson and Lenovo US;

        •   Count 4 through Count 7 allege that Ericsson infringes on four of Motorola
            Mobility's essential 5G patents.

Countercls. ,r,r 42, 50, 55 , 60, 90- 125, [DE 29].

        In addition to their claims and counterclaims before this Court, Lenovo and Ericsson have

filed parallel complaints with the United States International Trade Commission:

        •   On 11 October 2023 , Ericsson filed an ITC complain covering the four 5G SEPs
            that are the subject of its patent infringement claims here. On 12 December



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           2023 , Ericsson filed another complaint covering four patents that it claims are
           essential to the HEvCH/H.265 Video Standard. Opp ' n 9- 10, [DE 47] .

       •   On 16 December 2023. Motorola Mobility fi led an ITC complaint against
           Ericsson LM, Ericsson AB , and Ericsson Inc. alleging unlawful importation,
           sale for importation, and sale within the Untied States after of 5G New Radio
           antenna units that incorporate the Four SEPs asserted in its counterclaims before
           this Court. Opp'n, Ex. 14, [DE 48-5).

       The Eastern District is just one front in the parties ' dispute. Since Ericsson filed its

complaint in October, the parties have been busy litigating in foreign jurisdictions. On 13 October

2023 , two days after Ericsson filed its complaint here, Lenovo filed an action in the High Court of

England and Wales:

       •   Lenovo US and Motorola Mobility' s action seeks, among other things, a
           determination of FRAND terms for a global cross-license agreement between
           Lenovo and Ericsson, and Lenovo provided an undertaking to the UK court that
           it will enter into a license agreement determined FRAND as a result of the UK
           proceedings.

       •   On 15 December 2023 , Lenovo amended its complaint to include a request for
           injunctive relief against infringement of its UK patents. Specifically, Lenovo
           seeks an injunction preventing Ericsson from infringing on its UK patent,
           provided that such an injunction will be lifted if the parties enter a license
           agreement on FRAND terms.

       •   For its part, Ericsson contests the UK court's jurisdiction over the FRAND
           related claims but does not contest that the UK court has jurisdiction to hear
           Lenovo' s UK patent infringement claim.

Mem. in Supp. 11 - 12, [DE 40] ; Opp'n 10, [DE 47] ; Opp'n, Ex. 13 ~~ l0A, 56, 56A, [DE
48-4).

On 20 November 2023 , Ericsson began filing a series of patent infringement actions in Colombia:

       •   On 20 November 2023 , Ericsson filed a patent infringement action against
           Lenovo's Colombian affiliate, Motorola Mobility Colombia S.A.S . as well as
           several of Lenovo ' s customers.

       •   Under Colombian law, owners of intellectual property can get an injunction
           from the Superinterdencia de Industria y Comercio ("SIC"), an administrative
           office with judicial power of trademark and patent infringement.



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       •   On 13 December 2023 , the SIC enjoined Motorola Mobility Colombia to cease
           marketing, offering for sale, selling, using or importing certain 50 cell phones.

Supp., Ex. 3 11 16, 17, 19, [DE 40-3]; Opp ' n, Ex. 2 1 20, [DE 47-4].

The day after Ericsson began its Colombian actions, Ericsson filed an action for patent

infringement in Brazil:

       •   At issue were two of Ericsson ' s Brazilian patents that it claims are essential to
           the ETSI's 50 standard. Ericsson alleges that Lenovo ' s Brazilian affiliates,
           Lenovo Technologia Brasil LTDA and Motorola Mobility Comercio De
           Productos LTDA infringed on those essential patents.

       •   Ericsson requested a preliminary injunction enjoining Lenovo from infringing
           on its Brazilian patents.

       •   Lenovo responded on 23 November opposing the injunction and moved to seal
           the case, which the Brazilian court did.

       •   On 27 November 2023 , the Brazilian court entered a preliminary injunction.
           Lenovo must refrain from implementing the 50 essential patents at issues. The
           injunction would not take effect until 20 December 2023 .

       •   On 11 December 2023 , Lenovo ' s interlocutory appeal was denied; a week later,
           its motion for reconsideration was also denied.

Supp., Ex. 21 4, [DE 37-1] ; Opp'n, Ex. 1 1120, 24, 25, [DE 47-3].

       From Lenovo's perspective, the Brazilian and Colombian injunctions pose significant

challenges to its global strategy. Brazil and Colombian are growing markets for Lenovo ' s 50

offerings. Supp., Ex 1 11 8, 10, 11 , [DE 37]. And it alleges that Ericsson pursued injunctions in

those jurisdictions because of their strategic importance to Lenovo and the relative ease, in

Lenovo' s opinion, of obtaining injunctive relief in those jurisdictions as compared to the United

States. Lenovo casts Ericsson ' s action in Brazil and Colombia as an attempt to coerce Lenovo into

accepting supra-FRAND terms. For its part, Ericsson responds that foreign courts have jurisdiction

to enforce the rights of patent holders within their territorial bounds according to their procedures.




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Ericsson views Lenovo actions as a refusal to negotiate in good faith, alleging that Lenovo is

implementing Ericsson's essential patents without paying its fair share.

       On 29 December 2023 , Lenovo US and Motorola Mobility filed an application for a TRO

and anti-suit injunction in this Court. [DE 35]. Lenovo states that the essential patents at the heart

of the foreign injunctions are subject to Ericsson's commitment to the ETSI to license on FRAND

terms, an issue that is squarely before this Court and the UK court. Thus, according to Ericsson,

the foreign injunctions will be resolved through a payment of money damages and that issue should

be resolved without the pressure of the Brazilian and Colombian injunctions.

       On 2 January 2024, Ericsson responded to Lenovo ' s motion. Ericsson contends that the

Brazilian and Colombian actions involve foreign patent rights enforceable in the courts of the

foreign sovereigns. Any attempt to collaterally attack the foreign injunctions, Ericsson argues,

offends norms of international comity and thus amounts to nothing more than a delay tactic.

       On 11 January 2024, the Court held a hearing on Lenovo's motion for anti-suit injunction.

Ericsson and Lenovo US and Motorola Mobility were represented by counsel. The motion is ripe

for decision.

                                           DISCUSSION

       Before the Court can address whether· an anti-suit injunction is warranted, it must first

address the form such equitable relief would take. Lenovo styled its motion as a request for a

temporary restraining order yet asked the Court to preliminary enjoin Ericsson from enforcing the

Brazilian and Colombian injunctions until the FRAND licensing dispute is resolved. One of the

key distinctions between a TRO and the preliminary injunction is that the former is inherently

limited in duration while the latter has no inherent constraints. Compare Fed. R. Civ. P. 65(a) with




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65(b ). Thus, Lenovo ' s motion has the procedural trappings of a TRO but the substance of as motion

a preliminary injunction.

       Federal Rule of Civil Procedure 65 governs both TROs and preliminary injunctions in a

fluid interplay. See Ciena Corp. v. Jarrad, 203 F.3d 312, 319-20 (4th Cir. 2000). Because of this

fluidity, district courts may properly treat a motion for a TRO as a motion for a preliminary

injunction provided the non-moving party has a fair opportunity to oppose the motion. See U S.

Dep 't of Lab. v. Wolf Run Mining Co., Inc., 452 F.3d 275, 283 (4th Cir. 2006).

       This fair opportunity comes down to notice. How much notice must be given before the

Court can enter the preliminary injunction? Rule 65 doesn't say. Ciena Corp. 203 F.3d at 319.

Instead, Rule 65 's notice requirement is "more substantive than technical, requiring a defendant

be given a fair opportunity to oppose the application, as distinct from a specified number of hours

or days." Wolf Run Mining, 452 F.3d at 283 (internal quotation marks and citations omitted).

       The Court has little trouble concluding that Rule 65 's substantive requirement has been

met here. Lenovo moved for a TRO on 29 December 2023. [DE 35]. Ericsson filed a memorandum

in opposition on 2 January 2024. [DE 47] . That same day, the Court set a date for the hearing on

11 January 2024, 13 days after Lenovo filed its motion for a TRO. A duration more than sufficient

to give Ericsson a fair opportunity to oppose Lenovo's motion for injunctive relief. See Wolf Run,

452 F.3d at 281 - 84 (holding that notice within 24 hours of the hearing provided fair opportunity

to oppose preliminary injunction); Cienna, 203 F.3d at 320 (concluding that 2 days' written notice

of hearing on TRO converted into a preliminary injunction did not deny fair opportunity to

oppose). What 's more, not only does Ericsson not object to converting Lenovo's request for a TRO

into a preliminary injunction but it expressly asked the Court to do so. Opp ' n 29, [DE 47] .

Accordingly, the Court treats Lenovo 's motion for a TRO as a motion for a preliminary injunction.




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       An "extraordinary remedy never awarded as of right[,]" a preliminary injunction forces

courts of equity to balance the parties competing claims of injury with the effect that granting the

injunction would have on each party as well as the consequences to the public. Winter v. Nat 'l Res.

Def Council, 555 U.S. 7, 24 (2008). The competing concerns animating the extraordinary nature

of preliminary injunctions are heightened when the equitable powers of the federal courts are

sought to enjoin parties from litigating in foreign courts. Although an anti-suit injunction

ostensibly operates only against the parties not the foreign court, "such an order effectively restricts

the jurisdiction of the court of a foreign sovereign." China Trade & Dev. Corp. v. M. V Choong

Yong, 837 F.2d 33 , 35 (2d Cir. 1987). Thus, while a district court with jurisdiction over the parties

has the power to enjoin them from proceeding with a parallel lawsuit in a foreign country, that

power should be exercised "sparingly." BAE Sys. Tech. Sol. & Servs., Inc. v. Republic of Korea's

Def Acquisition Program Admin., 884 F.3 d 463 , 479 (4th Cir. 2018) (internal quotations marks

and citation omitted).

        The anti-suit injunction has consequences not present in a run-of-the mill preliminary

injunction. As a result, the standard test for a four-part test preliminary injunction is inapposite.

See Ganpat v. E. Pac. Shipping PTE, Ltd. , 66 F.4th 578, 584-85 (5th Cir. 2023) (explaining that

the traditional four-part test has never been a part of the circuit's analysis for an anti-suit

injunction); E. & J Gallo Winery v. Andina Licores S.A., 446 F.3d 984, 991 (9th Cir. 2006)

(holding that the movant "need only demonstrate that the factors specific to an anti-suit injunction

weigh in favor of granting the injunction."); Quaak v. Kly nveld Peat Marwick Goerdeler

Bedrijfsrevisoren, 36 1 F.3d 11 , 19 (1st Cir. 2004) (counseling district court that they "have no

obligation to employ [the traditional four-part test]" when dealing with international antisuit

injunctions). Instead, the propriety of an anti-suit injunction is assessed in three-steps. See, e.g.,




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BAE Sys. Tech. Sol. & Servs., Inc. v. Rep. of Korea's Def Acquisition Program Admin., 195

F.Supp.3d 776, 786 (D. Md. 2016).

       First, the movant must satisfy two threshold requirements: (1) that the parties and issues

are the same in both matters and (2) that resolution of the case before the enjoining court is

dispositive of the action to be enjoined. E.g., Microsoft, 696 F.3d at 882. And, because the

threshold requirements must be satisfied before the factors in the second step can be considered,

this first step might be the only step. See Canon Lat. Am., Inc. v. Lantech (CR), S.A ., 508 F.3d 597

(11th Cir. 2007); Quaak, 361 F.3d at 18 ("The gatekeeping inquiry is, of course, whether parallel

suits involve the same parties and issues."); Sanofl-Aventis Deutsch/and GmbH v. Genetech, Inc.,

716 F.3d 588, 595 (Fed. Cir. 2013) (Dyk, J. , concurring) (stating that the majority opinion was

wrong to consider additional factors when the threshold considerations were not met).

       Second, the movant must show that at least one of the anti-suit injunction factors applies.

Microsoft, 696 F.3d at 881 . These factors include "whether the foreign litigation would (1) frustrate

a policy of the forum issuing the injunction; (2) be vexatious or oppressive; (3) threaten the issuing

court ' s in rem or quasi in rem jurisdiction; or (4) where the proceedings prejudice other equitable

consideration." Id. at 882 (cleaned up) (quoting E & J Gallo Win ery v. Andina Licores S.A. , 446

F.3d 984, 989 (9th Cir. 2006)). In addition, the Second Circuit considers a fifth factor- whether

the parallel litigation would result in delay, inconvenience, expense, inconsistency, or race to

judgment. See Karaha Bodas Co. L.L. C. v. Perusahaan Pertambanagan Minyak Dan Gas Bumi

Negara , 500 F .3d 111 , 119 (2d Cir. 2007).

       Third, if the threshold requirements are met and at least one of anti-suit injunction factors

applies, the court assesses the injunction' s effect on international comity. " 'Comity' summarizes

in a brief word a complex and elusive concept- the degree of deference that a domestic forum




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must pay to the act of foreign government not otherwise binding on the forum ." Laker Airways

Ltd. v. Sabena, Belgian World Airlines, 731 F.2d 909, 937 (D.C. Cir. 1984). In practice, comity

serves as the mortar that cements the brick house of the international system. Id. Care must be

taken to preserve this mortar even where litigation involves private parties because enjoining a

party from proceeding in a foreign court effectively restricts the jurisdiction of a foreign

sovereign's courts. See China Trade , 837 F.3d at 35.

        Almost all of the circuit courts have adopted one of two approaches to weighing the effect

of an anti-suit injunction on international comity- the restrictive "conservative approach" or the

permissive "liberal approach." 2 These labels come from how much weight each approach accords

to international comity: The liberal approach places less weight on international comity whereas

the conservative test places greater emphasis on international comity. See Quaak, 361 F.3d at 17-

19 (outlining the two approaches and adopting the conservative approach because "the liberal

approach assigns too low a priority to [international comity]"); BAE Sys., 884 F.3d at 479 ("The

principal different is that the liberal approach accords less weight to international comity

concerns."). Although the liberal approach places a modest emphasis on international comity, an

injunction will issue "whenever there is a duplication of parties and issues and the court determines

that the prosecution of simultaneous proceedings would frustrate the speedy and efficient

determination of the case." Quaak, 361 F.3d at 17. Under the conservative approach, however, an



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  The liberal approach has been adopted by the Fifth and Ninth Circuits . See Ganpat, 66 F.4th 578 (5th
Cir.); Gallo , 446 F.3d 984 (9th Cir) . The conservative approach has been adopted by the First, Second,
Third, Sixth, Eight, and District of Columbia Circuits. See Quaak, 361 F.3d 11 (1 st Cir.); China Trade, 837
F.3d 33 (2d Cir.); GE v. Deutz A G, 270 F.3d 144, 161 (3d Cir. 2001); Gau Shan Co. , Ltd. v. Bankers Tr.
Co., 956 F.3d 1349, 1352- 54 (6th Cir. 1992); Goss Int '/ Corp v. Man Rolan Druckmaschinen
Aktiengelsellschaft, 491 F.3d 355, 359- 61 (8th Cir. 2007); Laker Airways, 713 F.2d 909 (D.C. Cir). The
Seventh Circuit hasn 't committed to either approach but has signaled that it is " inclined towards the laxer
standard." 1st Source Bank v. Neto, 861 F .3d 607, 613 n.2 (7th Cir.2017). The Federal Circuit has employed
the liberal test because it applies the law of the regional circuit when dealing it handles issue not unique to
patent law. Sanofi-Aventis, 716 F.3d at 591- 92 .


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"antisuit injunction will issue only if the movant demonstrates ( 1) an action in a foreign jurisdiction

would prevent United States jurisdiction or threaten a vital United States policy, and (2) the

domestic interests outweigh concerns of international comity." Goss Int'!, 491 F.3d at 359.

        The Fourth Circuit has not weighed in on the proper test to apply. BAE Systems, 884 F.3d

at 479. Without clear guidance from the circuit, some district courts have resorted to using both

approaches. See, e.g., Custom Polymers PETs, LLC v. Gamma Meccanica SPA , 185 F.Supp.3d

741 , 757-61 (D.S.C. 2016). The Court does not need to commit itself to an approach at this time.

Deciding which approach to apply is a consideration that comes only after the first two steps are

resolved in favor of the anti-suit injunction. So the Court will address the steps in order reaching

the third-step only if necessary.

        Again, the first step is "whether or not the parties and the issues are the same, and whether

or not the first action is dispositive of the action to be enjoined." Sanofi-A ventis, 716 F.3d at 591.

The parties need not be identical. It is enough that they are "substantially similar." Paramedics

Electromedicina Comercial, Ltda. v. GE Med. Sys. Information Tech., Inc., 369 F.3d 645 , 652 (2d

Cir. 2004); Quaak, 361 F.3d at 20. On this Lenovo and Ericsson agree. Supp. 14, [DE 40] ; Opp'n

19, [DE 47].

        Ericsson argues that Lenovo cannot show substantial similarity because the Lenovo entities

seeking the anti-suit injunction- Lenovo US and Motorola Mobility-are not the Lenovo entities

enjoined in Brazil and Colombia. What ' s more, the Lenovo entities here can neither show that they

are the controlling shareholders of Lenovo ' Brazilian and Colombian entities nor that they can

otherwise control them. Ericsson also points out that the parent company that controls all Lenovo

entities, Lenovo China, has neither appeared nor accepted service in this case.




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        The decisive point is that the Brazilian and Colombian entities- Lenovo Tecnologia Brasil,

Motorola Mobility Comercio De Produtos Electronicos LTDA, and Motorola Mobility Colombia

S.A.S- are named in the Brazilian and Colombian actions because of their identity with Lenovo

US. See Paramedics , 369 F.3d at 652. It's not a secret that the Brazilian and Colombian actions

are a direct result of Lenovo US 's negotiations with Ericsson. Although Ericsson stresses that

Lenovo US does not control the foreign entities, the record supports that Lenovo US has the

authority to negotiate with Ericsson to reach a global patent cross-license comprising both Lenovo

US's and its related entities essential patents. Answer il 215, [DE 29]. And it is undisputed that

the Brazilian and Colombian entities are part of the Lenovo family, a fami ly that Ericsson alleges

acts as a "unitary business venture." Compl. ,l18, [DE 1]. Thus, the Court concludes that Lenovo

US is substantially similar with the foreign defendants in the one way that really matters here.

        Although stated as two components of the threshold inquiry, whether the issues in the

domestic and foreign actions are the same and whether the first action is dispositive of the foreign

action to be enjoined operate as one requirement. Microsoft, 696 F.3d at 882- 83 ; see also Sanofi-

Aventis, 716 F.3d at 591 ("[T]he issues need not be identical; it is enough they are functionally the

same such that the result in one action is dispositive of the other." (citing Applied Med. Distrib.

Corp. v. Surgical Co. BV, 587 F.3d 909,915 (9th Cir. 2009))). The Court reads "dispositive" based

on its ordinary usage as being outcome determinative. See Canon, 508 F.3d at 601 n.8 (concluding,

"in the interest of international comity and judicial restraint," that dispositive means to settle or

finish a dispute) .

        Lenovo argues that the underlying licensing dispute before the court will be dispositive of

the Brazilian and Colombia actions. Because those actions involve claims for patent infringement

on 5G essential patents covered by Ericsson's FRAND commitment and Ericsson has included




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those patents in its global licensing offer, Lenovo reasons that resolving the FRAND rate in either

this Court or the UK court will necessarily moot the foreign actions. What's more, Lenovo

highlights that its counterclaim for declaratory relief asks the Court to set FRAND terms for a

global-cross license covering those SEPs in the foreign proceedings. So even if it won't accept

Ericsson's offer if it is declared FRAND, Lenovo contends that it will accept the FRAND rate set

by the Court.

       Lenovo's arguments are unpersuasive. The rub is that Lenovo conflates two separate issues

arising from the parties' ETSI commitments and glosses over the nuances of Ericsson's position.

Regarding the ETSI commitments, there are two issues: was Ericsson's 11 October offer FRAND?

And what is FRAND rate for a global cross-license? Lenovo represents that the issue of setting a

global rate is squarely before the Court. But it is more complicated than Lenovo leads on. On the

one hand, Lenovo US requests a declaration of a FRAND rate for a global cross-license.

Countercls. i!89, [DE 29]. Ericsson, on the other hand, first requests a declaration that it's 11

October offer is FRAND, and should the Court conclude it wasn't, for the Court to declare a

FRAND royalty rate for a global cross-license on essential patents. Compl. 59- 60, [DE 1]. So

unlike Lenovo request for declaratory judgment on a FRAND rate, Ericsson's request is contingent

on the Court resolving the antecedent issue of the FRAND offer.

       So, what happens if Ericsson's 11 October offer is FRAND? Lenovo has neither committed

to accepting Ericsson's offer if its FRAND nor would it be forced to . Instead, Lenovo would be

presented with the choice between (1) accepting the FRAND offer, (2) rejecting it and not

implementing Ericsson's essential patents, or (3) rejecting it, implementing the essential patents,

and exposing itself and its related entities to actions for infringement. See Ericsson Inc. v. Apple

Inc. , No. 2:21-cv-00376-JRG, (E.D. Tex. May 2, 2022) (explaining the options available after an




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offer is adjudicated FRAND). It is not the business of the federal courts to draft agreements for the

parties, and it makes little sense to start now. See Apple, Inc. v. Motorola Mobility, Inc., No. l l-

cv-178 , 2012 WL 5416931, at *l (W.D. Wis. Nov. 2, 2012) (reasoning that it would be

inappropriate to determine "a FRAND rate that may be used solely as a negotiating tool between

the parties"); InterDigital Commc 'ns, Inc. v. ZTE Corp. , 1: l 3-cv-00009, 2014 WL 2206218, at *3

(D. Del. May 28, 2014) (same).

        Lenovo maintains that the Ninth Circuit's decision in Microsoft should control the outcome

here. 696 F.3d 872. In Microsoft, the Ninth Circuit concluded that the district court had not abused

its discretion in granting an anti-suit injunction because of the character of the underlying contract

dispute. 696 F.3d at 882- 85. So too here is the underlying contract dispute controlling. The

meaningful distinction is that holding the parties to their obligations in the ETSI IP rights policy

will not necessarily result in a global cross-license that resolves the foreign patent actions. This

conclusion does not rest on the territorial nature of the Brazilian and Colombian essential patents.

Only the courts of those sovereigns can resolve claims for infringement on their respective patents.

Id. at 882; see also Canon, 508 F.3 d at 602 (collecting cases where injunctions were vacated

because foreign suits involved foreign rights enforceable in courts of the sovereign) . Instead, the

Court, like the Ninth Circuit in Microsoft, reasons from the effect that resolving the underlying

contract claims under the ETSI IP rights policy would have on the foreign infringement actions.

        In sum, the Court is not persuaded that resolving the underlying contract issues will force

either Lenovo or Ericsson into a global licensing agreement that would resolve the patent

infringement claims at the core of the Brazilian and Colombian actions. Thus, Lenovo has failed

to satisfy that the threshold requirements. Its motion for an anti-suit injunction is, therefore, denied .




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                                         CONCLUSION

       For these reasons, the Court DENIES Lenovo US and Motorola Mobility's motion for a

temporary restraining order and anti-suit injunction. [DE 35].


SO ORDERED, this / 3       day of February 2024.




                                            4C~/J~
                                             UNITED STATES DISTRICT JUDGE




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RULE 25.1(e)(2) CERTIFICATE OF CONFIDENTIAL MATERIAL

     In this brief, 34 unique words are marked confidential. A motion
to waive the 15-word limit has been filed under Fed. Cir. R. 25.1(d)(3).

                                        /s/ John C. O’Quinn


                CERTIFICATE OF COMPLIANCE
               WITH TYPE-VOLUME LIMITATIONS

     This brief complies with the type-volume limitations of the Federal
Rules of Appellate Procedure and the Rules of this Court. The brief
contains 10,280 words.
                                     /s/ John C. O’Quinn

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       On March 22, 2024, the non-confidential version of this brief was
filed by CM/ECF, and the non-confidential and confidential versions were
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